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                           UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MASSACHUSETTS


                                     )
                                     )                Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND )
NEXT FRIENDS, M.D. and P.D.          )
                                     )
                       Plaintiffs,   )
v.                                   )
                                     )
NATICK PUBLIC SCHOOL DISTRICT )
and                                  )
BUREAU OF SPECIAL EDUCATION          )
APPEALS,                             )
                                     )
                       Defendants.   )
                                     )


 PLAINTIFFS’ REPLY TO NATICK PUBLIC SCHOOLS’ RESPONSE TO PLAINTIFFS’
 AMENDED STATEMENT OF MATERIAL FACTS AND NATICK PUBLIC SCHOOLS’
        ADDITIONAL STATEMENT OF UNDISPUTED MATERIAL FACTS


         The Plaintiffs, C.D., and her Parents, M.D. and P.D. (“Parents”), on behalf of their

daughter and themselves, respectfully submit this Reply to Natick Public Schools’ Response to

Plaintiffs’ Amended Statement of Material Facts and Additional Statement of Undisputed Material

Facts.

PLAINTIFFS’ STATEMENT OF UNDISPUTED MATERIAL FACTS

The Parties

         1.      The Plaintiffs, M.D. and P.D. are C.D.’s father and mother respectfully, who

bring this action on behalf of C.D. and themselves.

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

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does not require a reply.

           2.   The Plaintiff, C.D is a student with a disability who is entitled to all the rights,

 entitlements, and procedural safeguards mandated by applicable law and statutes, including,

 but not limited to, the IDEA, and M.G.L. c.71B.

       Natick’s Response: Natick states that this paragraph is a legal conclusion, which does

not require a response.

       Parents’ Reply: The Parents state that this paragraph is a legal conclusion and does

not require a reply.

       3.       C.D. is and was at all times relevant to this action, a resident of Natick,

Middlesex County, Massachusetts.

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       4.       C.D. attended public school in Natick through the end of 5th grade pursuant

to IEPs proposed by the Natick Public School District (“Natick”) and accepted by the

Parents.

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       5.       The Parents enrolled C.D. in the Christa McAuliffe Regional Charter

School (“McAuliffe”), in Framingham, Massachusetts, which she attended, in the general

education inclusion classroom for 6th, 7th and 8th grades.

       Natick’s Response: Admitted. Natick adds that the McAuliffe Regional Charter


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School (McAuliffe) is a local education agency (“LEA”), and that once parents enrolled C.D.

there, Natick had no further obligation to provide her with a free appropriate public education

and/or any educational services. C.D. attended McAuliffe with the full time assistance of

personal one-to-one aides provided by her parents. R.1718, ll.8-24.

       Parents’ Reply: The Parents admit that Ms. Coellner and Ms. Soden shared a full-time

job and provided C.D. with assistance. The page cited by Natick does not support Paragraph 5.

       6.       C.D. is currently enrolled at Learning Preparatory School (“Learning Prep”), a

state-approved special education school in Newton, Massachusetts, where the Parents

privately placed her in September 2012, following their rejection of Natick’s proposed

placement for 9th grade.

       Natick’s Response: Natick admits that C.D. is currently enrolled at Learning Prep

School (“Learning Prep”), a state-approved special education school in Newton, Massachusetts.

Although Parents privately placed her there in September, 2012, after they rejected Natick’s

proposed placement for 9th grade, the evidence suggests that the Parents intended to privately

place C.D. at Learning Prep as early as June, 2012. R.4054.

       Parents’ Reply: The Parents deny that there is any evidence that the Parents intended

to privately place C.D. at Learning Prep as early as June, 2012, either in the document cited by

Natick or anywhere else in the record. The Parents add that a variety of possible conclusions

are “suggested” by the document Natick cited, that the document presents an opinion from a

non-witness, and that there was no testimony with regard to the document presented by either

party at the hearing.

        7.      C.D. was attending 12th grade at the time of the hearing.




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         Natick’s Response: Admitted.1

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        8.        M.D. and C.D. are and were at all times relevant to this action, residents

of Natick, Middlesex County, Massachusetts.

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        9.        The Defendant, Natick, is a public corporation with the capacity to be sued

under the laws of the Commonwealth of Massachusetts, with a usual place of business located

at 13 E. Central Street, Natick, Middlesex County, Massachusetts.

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        10.       Natick receives federal funds from the United States Department of

Education pursuant to the IDEA, and is required to provide special education services to all

eligible students who reside within the school district.

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        11.       The Defendant, Bureau of Special Education Appeals “BSEA”, is an


1
 Please note the following correction to Paragraph 7: C.D. was attending 11th grade not 12th grade at the time of the
hearing.

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independent subdivision of the Division of Administrative Law Appeals, an independent state

agency within the Commonwealth of Massachusetts, with a usual place of business at One

Congress Street, Boston, Suffolk County, Massachusetts.

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        12.     The BSEA is responsible for adjudicating disputes between parents and

school districts regarding special education services pursuant to 20 U.S. §1415(g) and

M.G.L. c.71B §2A. (A.R.818).

        Natick’s Response: Natick states that this paragraph is a legal conclusion, which does

not require a response.

        Parents’ Reply: The Parents state that this paragraph is a legal conclusion and does

not require a reply.


PROCEDURAL HISTORY BEFORE THE BSEA

        13.     The Parents filed their initial request for hearing on May 23, 2014, which they

amended on April 1, 2015 based upon events that transcribed [sic] subsequent to the initial

filing date.

        Natick’s Response: Natick admits that Parents filed these documents and that

documents speak for themselves.

        Parents’ Reply: Admitted.

        14.    Natick filed its response to the Parents initial request for hearing on June 2, 2014.

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

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does not require a reply.

        15.     The hearing was held on May 12, 2015, May 13, 2015, May 27, 2015, and May

 28, 2015.

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

The Parents’ Witnesses

        16.     The Parents’ witnesses who provided testimony at the hearing with regard to the

 appropriateness of the proposed programs for C.D. included: (1) Ms. Nan Coellner; (2) Ms.

 Suzanne Flax; (3) Dr. Steve Imber; and (4) Dr. Arlyn Roffman.

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       17.     Nan Coellner, a retired special education teacher, with over thirty years’

experience in the Boston Public Schools (A.R.3189), worked with C.D. in the general

education classroom at McAuliffe for at least two days per week from September 2009 through

May 2012. (A.R.1697).

       Natick’s Response: Admitted. Natick adds that Ms. Coellner was employed by

C.D.’s father, not by McAuliffe. R.1716, ll.8-13. She learned of the job through a posting on

Craigslist. R.1694, ll.11-21.

       Parents’ Reply: Admitted.

       18.      Ms. Coellner observed C.D. and spoke with her teachers at McAuliffe and

Learning Prep, and observed the proposed program for C.D. at Natick.

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        Natick’s Response: Denied. Ms. Coellner never observed the replacement classes in

Natick. R.1713, ll.8-12. Moreover, she did not observe the Natick program in 2012 or 2013,

only in 2014. R.1714, ll.4-16. Ms. Coellner admitted in her testimony that she did not talk to

teachers at Learning Prep. R.1724, ll.18-21.

        Parents’ Reply: Admitted that Ms. Coellner did not observe the replacement classes

in Natick. Admitted that Ms. Coellner did not observe the Natick program in 2012 or 2013,

only in 2014. The Parents add that Ms. Coellner did not observe the Natick program prior to

2014 because Natick denied the Parents’ request for her to do so. (A.R. 1714, ll. 14-18; A.R.

360, A.R. 370; see generally A.R.3112-3173).2 Admitted that Ms. Coellner admitted in her

testimony that she did not talk to teachers at Learning Prep.

        19.       Ms. Coellner testified that she reviewed the IEPs proposed by Natick for

C.D.’s 2012-2013, 2013-2014, and 2014-2015 school years and attended team meetings for

C.D. on May 24, 2012, July 27, 2012, and November 11, 2014. (See A.R.1691-1745).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        20.       Suzanne Flax, a speech therapist with over thirty years’ experience

(A.R.3217), has been working with C.D. one day per week since 2007, when the Parents hired

her to provide C.D. private speech therapy. (See A.R.1840-1914).

        Natick’s Response: Admitted that Ms. Flax is a speech/language pathologist who has


 2
  Consistent with the format in Plaintiffs’ Amended Memorandum of Law in Support of Motion for Summary
 Judgment, the Parents cite to the Administrative Record with “A.R.” The transcript is included in the record and
 citations to the transcript are to the pages of the record rather than the pages of the transcript volumes. (Line
 numbers are designated “ll.x-x”, e.g. ll.2-3).



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provided C.D. with speech and language services since she was in the fourth grade. Natick

denies that she has over thirty years of experience as a speech therapist because her first job as

a speech- language pathologist was in 1987, twenty-eight years before the hearing in 2015.

(A.R.3220).

       Parents’ Reply: The Parents state that Ms. Flax worked as a Speech-Language Clinical

Fellow in 1985, thirty years before the hearing in 2015. (A.R. 3220).

       21.      Ms. Flax observed C.D. and spoke with her teachers at McAuliffe and Learning

 Prep, and observed the proposed program at Natick; Ms. Flax testified that she reviewed all of

 the IEPs proposed by Natick for 2012-2013, 2013-2014, and 2014-2015, and attended team

 meetings at Natick on May 24, 2012 and November 11, 2014. (See A.R.1840-1914).

       Natick’s Response: Admitted that she attended Team meetings in May, 2012 and

November, 2014. Ms. Flax did not observe the Natick program in 2012 or 2013, only in 2014.

R.1848, ll.13-17. Ms. Flax did not testify that she spoke to the teachers at McAuliffe. R.1840-

1864, 1870-1915.

       Parents’ Reply: Admitted that Ms. Flax did not observe the Natick program in 2012

or 2013, only in 2014. The Parents add that Ms. Flax did not observe the Natick program prior

to 2014 because Natick denied the Parents’ request for her to do so. (A.R. 360, A.R. 370).

Admitted that Ms. Flax did not testify with regard to whether she spoke to the teachers at

McAuliffe.

       22.     Dr. Imber, an educational evaluator/consultant, and Professor of Special

Education at Rhode Island College with over forty years’ experience (A.R.3190), was hired by

the Parents in 2009 to conduct an independent evaluation of C.D.; he conducted evaluations in

2009, 2010, 2012, and 2014, which included observations of C.D., reviews of previous


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evaluations, and standardized academic testing. In addition to conducting evaluations, Dr.

Imber has served as an educational consultant to the Parents, observing C.D.’s programs,

speaking with her teachers, and providing feedback to the Parents. (See A.R. 2015-2131).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       23.     Dr. Imber observed C.D. and spoke with her teachers at McAuliffe and

Learning Prep, and has observed the proposed program at Natick.

       Natick’s Response: Admitted that Dr. Imber observed C.D. and spoke with her teachers

at McAuliffe and Learning Prep. Dr. Imber did not observe the Natick program in 2012 or 2013,

only in 2014. R.2047, ll.22-24.

       Parents’ Reply: Admitted that Dr. Imber did not observe the Natick program in

2012pr 2013. The Parents add that Dr. Imber did not observe the Natick program prior to

2014 because Natick denied the Parents’ request for him to do so. (A.R. 360, A.R. 370).

        24.    Dr. Imber testified that he reviewed all of the IEPs proposed for the 2012-

2013, 2013-2014, and 2014-2015 school years, and attended team meetings at Natick on May

24, 2012, July 27, 2012, June 13, 2014, November 11, 2014, and January 7, 2014. (See

A.R.2015-2131).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       25.     Natick’s witnesses who provided testimony at the hearing with regard to

the appropriateness of the proposed programs for C.D. included: (1) Karen Liptak; (2)


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Sarah Karian; (3) Donna Cymrot; and (4) Christine Michelson.

         Natick’s Response: Admitted. Natick adds that Lindsey McGovern and Kathryn

Brown also testified to the appropriateness of Natick’s programs.

         Parents’ Reply: Admitted. The Parents add that the father, Dr. Erin Gibbons,

Cynthia Manning, Carol Tsang, Nancy d’Hemecourt, and James Francoise, were also

witnesses called by the Parents to provide testimony at the hearing.

         26.    Karen Liptak, a special education teacher at Natick High School, worked with

 C.D. in the summer of 2012, providing the academic component of her ESY program.

 (See A.R.2320-2345).

         Natick’s Response: Admitted. Natick adds that she taught both the academic

component and phonology. R.2325, ll.13-14.

         Parents’ Reply: Admitted.

         27.    Ms. Liptak has never observed C.D. at Learning Prep; Ms. Liptak attended team

meetings for C.D. on May 24, 2012, November 11, 2014, and January 7, 2015. (See A.R.2320-

2345).

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

         28.    Ms. Liptak did not attend the IEP team meeting on July 27, 2012 (even though

she had provided services to C.D. during the ESY program earlier that month).

         Natick’s Response: Admitted. Natick adds that Ms. Liptak explained why she did not

attend the meeting. She testified that “[t]he summer program is only five weeks in duration. I

really think the charter school personnel would have been probably more important at that time


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than the summer school people. They had a longer relationship with her. We would have had a

snapshot of information to really contribute.” R.2326, ll.13-18.

       Parents’ Reply: Admitted that Ms. Liptak so testified. The Parents add that at the

meeting on May 24, 2012, Ms. Dalan specifically indicated that C.D.’s participation in the

summer program would enable Natick to get to know C.D., “…we can offer a similar level of

summer services, which, should you choose to access that, would be probably helpful for us to

get to know her…” (A.R.307, ll.23-25).

        29.      Ms. Liptak testified that she did not review the IEPs proposed by Natick

 for C.D.’s 2012-2013, 2013-2014 school years. (See A.R.2320-2345).

       Natick’s Response: Denied. Ms. Liptak never testified that she did not review the IEPs

that Natick proposed. Instead, she acknowledged that she read some of the Student’s records.

R.2334, ll.16.

       Parents’ Reply: Admitted that Ms. Liptak did not testify with regard to whether she

reviewed the IEPs. Denied that she acknowledged that she read some of the Student’s

records. The Parents do not see this statement in Ms. Liptak’s testimony, either specifically

on the page that Natick cites or anywhere else in her testimony.

       30.       Sarah Karian, Speech Language Pathologist at Natick High School, first

met C.D. on May 27, 2014, per Natick’s request that she conduct a speech and

language evaluation for C.D.’s three-year reevaluation. (See A.R.2183-2215).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       31.       Ms. Karian conducted her evaluation at Learning Prep but did not observe


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 C.D. in any of her classes or speak with any of her teachers, indicating in her testimony that

 she doesn't think it was important for her to observe C.D. as part of her evaluation. (See

 A.R.2183-2215).

         Natick’s Response: Admitted. Ms. Karian explained that, when doing a

communication evaluation, it is not necessary to do an observation. R.2201, ll.17-23.

         Parents’ Reply: Admitted that Ms. Karian so testified.

          32.    Ms. Karian attended team meetings on June 13, 2014 and January 7,

 2015; Ms. Karian did not attend the team meeting on November 11, 2014, at which the

 team reviewed Ms. Flax’s most recent Speech and Language Evaluation. (See

 A.R.2183-2215).

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

         33.     Ms. Karian did not testify with regard to whether she reviewed the IEPs

proposed for the 2012-2013, 2013-2014, and 2014-2015 school years. (See A.R.2183-

2215).

         Natick’s Response: Ms. Karian testified that she reviewed C.D.’s IEPs. R.2201, l.24

– R.2202, l.2.

         Parents’ Reply: The Parents admit that Ms. Karian so testified.

         34.     Donna Cymrot, a school psychologist at Natick High School, first met C.D. in

May of 2014 as a result of Natick’s request that she conduct a psychological evaluation as

part of her three-year reevaluation. Ms. Cymrot observed C.D. at Learning Prep when she



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conducted her evaluation but did not speak with any of her teachers. Ms. Cymrot attended

team meetings on May 24, 2012, June 13, 2014, and November 11, 2014. (See A.R.2132-

2175).

         Natick’s Response: Admitted, except that Ms. Cymrot did not testify that she did not

speak with any of C.D.’s teachers. R.2132 -2177.

         Parents’ Reply: Admitted that Ms. Cymrot did not testify with regard to whether she

spoke with any of C.D.’s teachers.

         35.    Ms. Cymrot testified that she did not review any of the IEPs proposed for

 C.D. for the 2012-2013, 2013-2014, or 2014-2015 school years, and did not review all of the

 previous psychological reports, including those conducted by Natick in 2012, which

 contradicted her findings, and the Neuropsychological Evaluation provided by Dr. Gibbons

 and about which Dr. Gibbons testified at the hearing. (See A.R.2183-2215).

         Natick’s Response: Admitted that Ms. Cymrot did not review the report Dr. Gibbons

testified about or the 2012-2013 or 2013-2014 IEPs. Natick denies that Ms. Cymrot did not

review the 2014-2015 IEPs because she testified she helped create them. R.2160, ll.14-18.

Natick denies that the 2012 report contradicted Ms. Cymrot’s findings. R.945- 954; R.2825-

2833. Natick also denies that Ms. Cymrot did not review Natick’s evaluations. R.2141, l.24 –

R.2142, l.1. Natick adds that Ms. Cymrot did not review Dr. Gibbons’ 2012 report because

Natick did not have the report. R.2141, ll.11-12. Ms. Cymrot did not include every evaluation

that was ever done. She reviewed previous Natick Public Schools’ evaluations and the

Massachusetts General report. R.2141, l.24 – R.2142, l.5; R.2164, ll.14-15.

         Parents’ Reply: Admitted that Ms. Cymrot testified that she participated in writing the

2014-2015 IEP at the meeting on June 13, 2014. (A.R.2160, ll.14-18). The Parents add that Ms.


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Cymrot did not testify with regard to whether she reviewed the final proposed IEP dated

6/13/2014-6/13/2015. (A.R.2131-2176).

       The Parents deny that Ms. Cymrot testified that she helped create the first two IEPs

proposed for 2014-2015 dated 4/15/2014-4/15/2015 and 11/14/2014-6/13/2015. The Parents add

that Ms. Cymrot did not testify with regard to whether she reviewed the IEPs dated 4/15/2014-

4/15/2015 and 11/14/2014-6/13/2015.

       The Parents admit that Ms. Cymrot testified that the 2012 report did not contradict her

findings. (A.R.2152, ll.14-16). The Parents add that Ms. Cymrot testified that she did not review

any of the test results from 2012 until the date she testified at the hearing (A.R.2152, l.10).

       The Parents admit that Ms. Cymrot testified that she reviewed reports that were done by

Natick previously (A.R.2141, l.24-A.R.2142, l.1).

       The Parents admit that Ms. Cymrot testified that she did not review Dr. Gibbons’ 2012

report because Natick did not have the report; however, the Parents deny that Natick did not

have the report. (See Paragraph 72 infra).

       The Parents admit that Ms. Cymrot testified that she did not include every evaluation that

was ever done.

       The Parents also admit that Ms. Cymrot testified that she reviewed previous Natick

Public Schools’ evaluations and the Massachusetts General report. (A.R.2141, l.24 – A.R.2142,

l.5; A.R.2164, ll.14-15). The Parents add that the Massachusetts General report was completed

in 2003 when C.D. was in kindergarten (A.R.2142, ll.1-5). The Parents also add that Ms.

Cymrot testified that she had no idea there were more recent evaluations conducted (A.R. 2170,

l.14-15).



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       36.     Christine Michelson, the Lead ACCESS teacher since October 2014, had

never met C.D. (See A.R.2382-2319).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        37.     Ms. Michelson had never observed C.D. at McAuliffe or Learning Prep or

 consulted with any of her teachers. (See A.R.2382-2319).

       Natick’s Response: Admitted, except Natick denies that Ms. Michelson never consulted

with any of C.D.’s teachers because there was no testimony to this effect. R.2282-2343.

       Parents’ Reply: Admitted that Ms. Michelson did not testify with regard to whether

she ever consulted with any of C.D.’s teachers.

        38.     Ms. Michelson testified that she did not review the IEPs proposed by Natick

 prior to the IEP currently proposed for the 2014-2015 school year, and did not review all of

 the evaluation reports, including the Neuropsychological Evaluation provided by Dr.

 Gibbons and about which Dr. Gibbons testified at the hearing. (See A.R.2382-2319).

       Natick’s Response: Admitted, except that Ms. Michelson testified that she reviewed

 evaluation reports for C.D. R.2287, ll.10-12.

       Parents’ Reply: Admitted, except that Ms. Michelson testified that she did not

review the Neuropsychological Evaluation provided by Dr. Gibbons and about which Dr.

Gibbons testified at the hearing. (A.R.2287, l.15).

        39.     Ms. Michelson attended team meetings on November 11, 2014 and January 7,

 2015. (See A.R.2382-2319).

       Natick’s Response: Admitted.

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       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

The Issues Exhausted

        40.     The following issues were exhausted at the BSEA hearing: (a) Whether the

 IEPs proposed by Natick for the periods from 2012-2013 (A.R.2603), 2013-2014 (A.R.2628),

 and 2014-2015 (A.R.2551, A.R.2529, A.R.2503) were reasonably calculated to provide C.D.

 with a FAPE in the LRE; (b) Whether there were any procedural violations committed by

 Natick that resulted in a denial of a FAPE to C.D.; (c) Whether Natick engaged in any

 discrimination or retaliation in violation of 42 U.S.C. § 1983 and Section 504 of the

 Rehabilitation Act of 1973 (to preserve the Parents’ right to file a claim for damages at a later

 date). (A.R.1549-1574).

       Natick’s Response: Admitted, except that Natick does not know the reason Parents’

filed the 42 U.S.C. § 1983 and Section 504 of the Rehabilitation Act of 1973 claims.

       Parents’ Reply: The Parents state that the reason Parents filed the 42 U.S.C. § 1983

and Section 504 of the Rehabilitation Act of 1973 claims was clearly set forth in Claim VII

of their Amended Complaint filed on April 1, 2015. (A.R. 3086).

        41.     On December 5, 2014, pursuant to the Parents’ discovery request, Natick

 provided the Parents with redacted IEPs for students in the ACCESS program between

 September 2012 and the current date, which revealed the profile of students who would have

 been C.D.’s peers. (A.R.4182).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and



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does not require a reply.

        42.     The IEPs revealed that there were students with autism; there were students

 who were nonverbal, and students with emotional and behavioral challenges. (A.R.4182)

       Natick’s Response: Natick states that the IEPs speak for themselves.

       Parents’ Reply: Admitted.

The Motion to Compel

        43.     On November 12, 2014, the Parents filed a Motion to Compel Independent

 Evaluators and Educational Consultants Access to School Staff (“Motion to Compel"), a

 supporting Memorandum of Law, which included two verified affidavits and sixteen

 exhibits. (A.R.732-944; A.R.3112-3173).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        44.     The Motion to Compel was a result of conditions placed upon the Parents’

 and their experts with regard to their observations of the proposed program during October

 and November 2014; and which prevented them from obtaining the information that they

 needed and were entitled to receive. (A.R.732-944; A.R.3112-3173).

       Natick’s Response: The Parents’ Motion to Compel speaks for itself.

       Parents’ Reply: Admitted.

       45.     Natick justified restricting the observations based upon allegations against

Dr. Imber and Ms. Flax, accusing them of interrogating Natick staff and making them feel

uncomfortable during their observation in June 2014. (A.R.732-944).



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       Natick’s Response: Natick admits that it restricted the observations in part because

Dr. Imber and Ms. Flax had previously interrogated Natick staff and made them

uncomfortable. R.775. Natick denies the characterization of Natick’s reasoning as an

“accusation.” Id. Moreover, Natick had other arguments for limiting access under the

circumstances. R.770-776.

       Parents’ Reply: Admitted to the extent that Natick alleged Dr. Imber and Ms. Flax

had previously interrogated Natick staff and made them uncomfortable. (A.R.775). The

Parents object to the characterization of their conversations as “interrogations.” Admitted

that Natick had other arguments for limiting access. (A.R.770-776).

        46.    In their affidavits, Dr. Imber and Ms. Flax fervently denied the allegations

 against them. (A.R.732-944).

       Natick’s Response: The documents speak for themselves.

       Parents’ Reply: Admitted.

       47.     By their motion, the Parents sought to compel Natick to provide the Parents and

their designated evaluators/consultants the opportunity to communicate directly, in person, and

without the imposition of impermissible conditions, with the school staff in the classes they had

observed in October and November 2014 (as well as in the future). (A.R.732-944).

       Natick’s Response: The document speaks for itself.

       Parents’ Reply: Admitted.

       48.     Natick filed an Opposition to the Parents’ Motion to Compel on November

20, 2014; however, Natick did not provide any evidence to support their allegations.

(A.R.1279).

       Natick’s Response: Natick denies the Parents’ characterizations. Moreover, Natick was

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not required to submit evidence to support its opposition to the motion to compel.

       Parents’ Reply: Admitted that Natick was not required to submit evidence to support its

opposition to the motion to compel. The Parents state that they do not know what

characterizations Natick is denying.

       49.     On November 28, 2014, the Parents filed a response to Natick’s

Opposition, which included two additional affidavits from Dr. Imber and Ms. Flax.

(A.R.1287).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       50.      On April 1, 2015, five months after the motion was filed, the hearing

officer issued a ruling, which ordered that the Parents could submit clarifying questions in

writing to be answered by Natick in writing regarding the observations that occurred five

months prior to the ruling. (A.R.815).

       Natick’s Response: Admitted that the hearing officer ruled on the motions on April

1, 2015. The decision speaks for itself.

       Parents’ Reply: Admitted.

       51.     The Parents submitted questions in writing on April 21, 2015. (A.R.1351).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       52.     Natick objected to the form and content of the questions submitted, and

following a conference call on May 1, 2015, the hearing officer issued an amended ruling


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providing that Natick would submit written responses by May 7, 2015, to the questions

deemed appropriate by the hearing officer. (A.R.768).

       Natick’s Response: Admitted that Natick objected to the questions submitted

because they were not clarifying, but were excessively lengthy and unduly burdensome.

R.1367. Natick denied that the conference call was on May 1, 2015; it took place on April 30,

2015. R.1399-1400. The hearing officer’s decision speaks for itself. Id.

       Parents’ Reply: Admitted that Natick objected to the questions submitted. The

Parents add that Natick indicated the reasons for its objection by correspondence dated April

21, 2015 and that the correspondence speaks for itself. (A.R.1367). Admitted that the

conference call took place on April 30, 2015 and that the hearing officer’s decision speaks for

itself. (A.R.1399-1400).

 The Exhibits

       53.      On May 5, 2015, the Parents submitted their exhibits for hearing five business

days prior to the hearing in accordance with Rule IX of the BSEA rules, which included the

most recent reports from Dr. Imber (A.R.3662), Ms. Flax (A.R.3802), and Dr. Roffman

(A.R.3651), who had completed their reports to the extent possible (given the restrictions

imposed by Natick) so that the Parents could at least submit them as exhibits for the hearing

pursuant to federal law. (A.R.1409).

       Natick’s Response: Admitted that the Parents submitted their exhibits for hearing

five business days prior to the hearing as required by Rule IX of the BSEA rules, and that the

exhibits included the most recent reports from Dr. Imber, Ms. Flax, and Dr. Roffman.

Natick denies that they had completed their reports “to the extent possible” before the hearing

and plaintiffs do not cite any evidence to support that statement.


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       Parents’ Reply: Admitted. The Parents add that they advised Natick by email that

“since the district has restricted all of the parents’ independent evaluators from consulting

with service providers/teachers on the day of their observations…the parents’ independent

evaluators will not be able to complete their evaluation reports prior to the Team Meeting…”

(A.R.3141).

The Decision

        54.     The BSEA issued a final Decision on July 24, 2015 (A.R.1528-1549),

 which was corrected on July 28, 2015 to include three paragraphs which had been

 inadvertently omitted. (A.R.1549-1574).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        55.     The omitted paragraphs indicated that the hearing officer: (1) did not rely on

 the testimony of Ms. Flax; (2) did not rely upon the testimony of Dr. Imber; and (3) did not

 rely on the most recent reports submitted by Ms. Flax, Dr. Imber, or Dr. Roffman.

 (A.R.1549-1574).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        56.     Following a four-day hearing on May 12, 2015, May 13, 2015, May 27,

 2015, and May 28, 2015, the hearing officer found that: (1) the IEPs proposed by Natick

 for the 20122013, 2013-2014, and 2014-2015 school years were reasonably calculated to

 provide C.D. with a FAPE in the LRE; (2) there was no evidence of procedural violations


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 that resulted in a denial of FAPE to C.D.; and (3) there was no evidence that Natick

 discriminated against Student/Parents under 42 U.S.C. § 1983 or Section 504 of the

 Rehabilitation Act of 1973. (A.R.1549-1574).

        Natick’s Response: Admitted that there was a four-day hearing on May 12, 2015,

May 13, 2015, May 27, 2015, and May 28, 2015. Otherwise, the hearing officer’s decision

speaks for itself.

        Parents’ Reply: Admitted.

       57.      Because the hearing officer found that the IEPs proposed by Natick did

not deny C.D. a FAPE, she made no determination regarding whether the Parents’

placement at Learning Prep was an appropriate placement in the LRE, pursuant to the

standards applicable when parents unilaterally place their child in a private school.

(A.R.1549-1574).

        Natick’s Response: The hearing officer’s decision speaks for itself.

        Parents’ Reply: Admitted.

 The Material Facts

         58.     C.D. has been diagnosed with Borderline Intellectual Functioning and has

 been noted to have weakness in language functioning. (A.R.3876).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

         59.     Her most recent neuropsychological evaluation indicates that C.D. has a

 Mild Intellectual Disability along with ongoing weaknesses in receptive and expressive



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 language. (A.R.3876).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        60.     C.D. is an organized, hard-working, conscientious, cooperative student

 who wants to do well, is able to follow classroom routine and class expectations

 (A.R.3435), and appears to have good self-esteem and social skills. (A.R.2505,

 A.R.3231).

       Natick’s Response: Natick admits that reports and assessments have indicated that

C.D. has exhibited the strengths alleged in this paragraph.

       Parents’ Reply: Admitted.

        61.     C.D. attended all of her classes at McAuliffe in the general education

 inclusion setting (with the exception of Math for 8th grade only). (A.R.3375).

       Natick’s Response: Admitted, except that Natick also notes that C.D. received

academic support in a separate setting three times a week. R.3388.

       Parents’ Reply: Admitted to the extent that C.D. received academic support in a

separate setting three times a week in 8th grade. (A.R.3388).

        62.     C.D. received supplementary support in the general education classroom at

 McAuliffe from Ms. Coellner and Ms. Soden, two retired special educational teachers/

 administrators, hired by the Parents. (A.R.1691).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.


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       63.     Ms. Coellner testified that she and Ms. Soden had worked with C.D. on a

rotating schedule every day for 6th, 7th and 8th grade (A.R.1691); that they provided

occasional support in the academic classroom (A.R.1696); and did not accompany C.D. to

electives or lunch. (A.R.1696).

       Natick’s Response: Natick admits that Ms. Coellner and Ms. Soden worked with

C.D. on a rotating schedule. Natick denies that they provided occasional support in the

academic classroom. In sixth grade, they also pulled her out for math. R.1696, l.5. They went

to small group math with her in the eighth grade. R.1696, ll.7-8. They would stand near her in

the class and cue her as needed and remind her about what she had to do. Id., ll.12-19.

They would go over vocabulary and practice flash cards. R.1701, ll.4-8.

       Parents’ Reply: Admitted to the extent that Ms. Coellner and Ms. Soden provided

the supplementary supports and services referenced by Natick. Denied that these

supplementary supports and services provided more than occasional support. The Parents

add that C.D. was in inclusion Math in 7th grade. (A.R. 1696, l.6).

       64.     Ms. Coellner testified that C.D. was able to access the general education

curriculum at McAuliffe (A.R.1697); has excellent executive functioning skills, is very

organized, works really well in groups; has beautiful handwriting and would often be the

scribe during group projects. (A.R.1697).

       Natick’s Response: Admitted that Ms. Coellner so testified.

       Parents’ Reply: Admitted.

       65.     Ms. Coellner testified that at the end of 6th grade, C.D. had no confidence in

her own academic ability; however, at McAuliffe, her self-confidence dramatically

improved...when she began at McAuliffe, C.D. could fill in a blank in a sentence and at the


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end of three years, she could write a composition; in 8th grade, C.D. passed the standard

MCAS in English. (A.R.1699).

       Natick’s Response: Denied that Ms. Coellner testified that C.D. had no confidence

in her own academic ability at the end of 6th grade but that her self-confidence dramatically

improved at McAuliffe. Natick does not see this statement in Ms. Coellner’s testimony,

either specifically on the page that Plaintiffs cite or anywhere else in her testimony.

Natick admits that Ms. Coellner testified to the rest as her opinion of C.D.’s progress, but

notes that Ms. Coellner admitted that she did not conduct any formal evaluations and did not

formally measure any progress. R.1715, ll.19-22; R.1717, ll.11-19.

       Parents’ Reply: Admitted that the page cited does not include Ms. Coellner’s testimony

with respect to C.D.’s self-confidence, but denied that this statement does not appear in her

testimony. The Parents add that Ms. Coellner testified that, “When I met Carolyn in the sixth

grade, she had no self-confidence about academics. She was very shy, she didn’t think she could

do anything, and I saw her self-confidence improve.” (A.R.1697, ll. 7-11).

       The Parents admit that Ms. Coellner testified that she did not conduct formal evaluations.

The Parents deny that Ms. Coellner admitted she did not formally measure any progress on the

page cited or anywhere else in her testimony. The Parents add that Ms. Coellner testified that

while she did not measure her progress in a quantitative way, she conducted qualitative analysis

at least 2 days per week for 3 years, which she measured through her experience, her eye, and

her expertise as a highly trained, experienced special educator and by observing the

improvements in C.D.’s work product and classroom performance between 6th and 8th grade.

(A.R. 1717, l.14-A.R. 1718, l.17).

       66.     Ms. Coellner testified that C.D. felt like part of the group at McAuliffe,



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she didn't feel special; she was one of the kids, laughing and joking in the hallway, and

spending time with friends socially after school. (A.R.1700).

       Natick’s Response: Natick admits that Ms. Coellner testified that she thought C.D.

felt as if she were part of the group, was “one of the kids,” and was joking in the hallway and

spending time with friends after school, but denies that she testified that C.D. didn’t feel

special because that statement is nowhere in Ms. Coellner’s testimony. Furthermore, Ms.

Coellner drew these conclusions from her observations. She acknowledged that she did not

have conversations with C.D. about her feelings. R.1700, ll.11-24.

       Parents’ Reply: Admitted that Ms. Coellner did not specifically state that C.D. “didn’t

feel special,” and that Ms. Coellner drew her conclusions from her observations. The Parents

deny that Ms. Coellner acknowledged she did not have conversations with C.D. about her

feelings. The Parents add that Ms. Coellner testified that she did not normally have those kind of

conversations, she observed C.D. over the course of three years, observed her laughing and

joking with other kids in the hallways, observed her when she was coming back from lunch or

going to gym; she knew kids would call her up, and they would meet or go to parties or go

bowling, etc. (A.R.1700, ll.11-24).

       67.     Ms. Flax testified that in 2007, C.D. presented with a severe language-

based learning disability due to her overall cognitive profile; she didn't initiate verbal

language, and was basically answering questions in one to three words. (A.R.1848).

       Natick’s Response: Natick admits that is what Ms. Flax testified.

       Parents’ Reply: Admitted.

       68.     Ms. Flax testified that at McAuliffe, C.D. was in an environment where the

bar was set high, she had models she could emulate, and she was growing because of


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this...she was in an environment where she felt more socially engaged and was more

motivated to use her language, and as a result, her attitude changed dramatically; she

started talking and wanting to come to sessions..."I know for sure that her language was

beginning to progress and she was eager to develop more language." (A.R.1848).

       Natick’s Response: Natick denies that Ms. Flax testified that C.D. had models she

could emulate at McAuliffe because there is no testimony at R.1848 to that effect. Natick

admits that Ms. Flax testified that the rest of the quoted language was her opinion.

       Parents’ Reply: Admitted that Ms. Flax did not specifically state that “C.D. had models

she could emulate at McAuliffe;” however, this was the clear intent of her testimony, describing

why C.D. benefited by inclusion in the general education classroom at McAuliffe, “I think with

any child who presents with special needs, you want to hold the bar high. So you want them to

have models that they can try to emulate. The thing – the beauty of McAuliffe was, she was in

the regular education classroom…and the bar was held high, and she was growing because of

this.” (A.R.1848, ll.3-9).

       69.     The Parents filed a request for hearing with the BSEA on November 17, 2010,

when C.D. was in 7th grade. (A.R.4116).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       70.     A hearing was held at the BSEA on February 15 and 16, 2011, and a decision

was issued on March 24, 2011. (A.R.4116).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and


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does not require a reply.

       71.     On May 2, 2012, the Parents contacted Natick to request a meeting because

C.D. would be graduating from McAuliffe in June 2012 and returning to Natick for extended

year services (ESY) and High School. (A.R.161).

       Natick’s Response: Natick admits that the Parents contacted Natick on or about May 2,

2012, to request a Team meeting to discuss C.D.’s potential enrollment in Natick for the 9th

grade and for extended year services. Natick denies that the Parents intended to return C.D. to

Natick because there was evidence that as of June, 2012 they intended to place C.D. at Learning

Prep. See R.4054.

        Parents’ Reply: The Parents deny that there was evidence that as of June, 2012 the

 Parents intended to place C.D. at Learning Prep either on the document cited by Natick or

 anywhere else in the record. The Parents add that there is substantial uncontroverted evidence

 on the record that the Parents considered multiple options. The father testified, “before I

 enrolled her at Learning Prep, I was looking at other options. I was trying to get her in the

 charter school in Foxborough, but Natick isn't in the sending district. So I got put on a wait list

 and I was like 122 out of 123. So I tried to continue the model, but Natick said they couldn't

 be any help to me in getting her in a program like that.” (A.R.1675, ll. 3-10).

       72.     In anticipation of the meeting, the Parents forwarded C.D.’s 8th Grade IEP from

McAuliffe (A.R.163), her most recent Psychoeducational Evaluation (A.R.177), and

Neuropsychological Evaluation (A.R.238), and Speech and Language Evaluation (A.R.222),

and a copy of the Natick High School 9th Grade Course Selection List which C.D. and her

McAuliffe guidance counselor, Sara Shapiro, had completed, circling and initialing all college

prep level courses for C.D. per the recommendations of C.D.'s teachers. (A.R.2750).



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       Natick’s Response: Natick admits that the Parents provided information. Natick

denies the statement about the course selection. There is no evidence in the record that C.D.’s

guidance counselor helped C.D. complete and circle the course selection list and that the

teachers recommended the courses selected. The form is unsigned. R.2750-2753.

       Parents’ Reply: Denied that there is no evidence in the record that C.D.’s guidance

counselor helped C.D. complete and circle the course selection list and that the teachers

recommended the courses selected. The signature lines on the form are designated for the

Student and the Parents to accept the recommendations, not for the staff who make the

recommendations. The Parents add that C.D.’s guidance counselor, Sara Shapiro verified that

she completed the form by inserting her initials (“SS”) next to the circled recommendations.

(A.R.2750-2753).

       73.     Ms. Gina Dalan, Natick’s former Director of Special Education, informed the

Parents that if they decided to complete the registration paperwork, she would “send someone

over to the charter school to complete an observation and speak with C.D.'s teachers, both of

which will help us develop an effective plan to insure (sic) that C.D. has a successful

transition.” (A.R.268).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       74.     Ms. Dalan coordinated and scheduled an "informational" meeting for May 24,

2012. (A.R.268).

       Natick’s Response: Natick admits that it held a meeting on or about May 24, 2012.

       Parents’ Reply: The Parents state that the document cited in support of this


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paragraph is an email from Gina Dalan dated May 22, 2012 referencing the meeting for

May 24, 2012, in which she stated, “this is how we would plan to proceed on Thursday.

With that said it would be more of an information sharing meeting than an IEP meeting.”

(A.R.268).

 The May 24, 2012 Team Meeting

       75.     The Parents brought Ms. Coellner, Ms. Soden, Ms. Flax, and Dr. Imber to the

meeting on May 24, 2012. (A.R.270).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       76.     The Parents indicated that their goal for C.D. in Natick High School was a

continuation of the inclusion program C.D. completed at McAuliffe and from which she

obtained both academic and social benefits. (A.R.273).

       Natick’s Response: Natick admits that C.D.’s father stated that was his goal and that

he claimed she had benefitted academically and socially from inclusion.

       Parents’ Reply: Admitted. The Parents add that the father’s “claim” that C.D.

benefitted academically and socially from inclusion at McAuliffe is supported by substantial

uncontroverted evidence on the record, including, but not limited to, the information provided by

Ms. Coellner and Ms. Soden at the IEP meetings in May and July 2012, which included that

C.D. passed the ELA MCAS; the testimony of the father, Ms. Coellner, Ms. Flax and Dr. Imber

at the hearing; and the Natick High School 9th Grade Course Selection List recommending all

college prep level courses for C.D. (A.R.3901-3904, A.R.270-282, A.R.383-449, A.R.1610-

1691, A.R.1691-1745, A.R.1840-1915, A.R.2015-2131, A.R.2750).


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          77. The Parents informed Natick of the other options that they were considering

for high school, including technical high schools (which only offered life skills programs, and

therefore would be inappropriate for C.D., and Charter Schools, which unfortunately had

extremely long waiting lists). (A.R.315).

        Natick’s Response: Natick admits that the Parents informed it that they were

considering vocational schools and charter schools. Natick adds that the Parents did not

inform Natick that they were considering Learning Prep. R.4054.

       Parents’ Reply: Admitted. The Parents add that they were not required to inform

Natick of all the options they were considering.

       78.     Natick described the three available models at Natick High School: (1) Inclusion;

(2) Replacement classes, where all students are on an IEP, small classes are taught by a special

education teacher, the curriculums are the same but taught with modifications; and (3) the

ACCESS program, which is a substantially separate life skills program with a further modified

curriculum. (A.R.294).

       Natick’s Response: Natick admits those are the three programs offered at Natick High

School but denies that the Access program is, or was described as, a life skills program. R.294.

       Parents’ Reply: Admitted that the ACCESS program was not specifically

described as a “life skills” program. The Parents add that at the meeting on July 27, 2012,

the Parents’ attorney asked about the ACCESS curriculum and Ms. McGovern responded,

“They use entry points to access the general ed. curriculum. The emphasis is on more

functional academics but they are teaching the Mass. They’re using the Mass. curriculum

frameworks; they’re using entry points into the Mass. curriculum.” (A.R. 406, l.24-

A.R.407, l.3). The Parents also state that Natick described the educational model for the


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students in the ACCESS program on its website, which indicated that, “these students

receive a vocational and life centered educational approach using the MA Curriculum

Frameworks entry point levels for high school [emphasis added].” (A.R. 4148-A.R. 4151).

       79.     Natick indicated that ACCESS students do not take the MCAS or receive a high

school diploma (A.R.295); that students in Replacement classes are on the diploma track and

that students in the ACCESS program are not. (A.R.295).

       Natick’s Response: Denied. Natick staff testified that the program is very

individualized and some students take the MCAS Alternative, while others take the MCAS.

R.2396, ll.7-15.

       Parents’ Reply: Admitted that Natick staff testified that the program is very

individualized. Denied that any students in the ACCESS program for all of their core academic

classes take the MCAS. The Parents state that while Natick staff testified that some students

who are in a hybrid program, where they take the vocational class in ACCESS and some classes

in small group/replacement classes, may take the MCAS (R.2396, ll.7-15), there is clear and

substantial evidence on the record that students who are in the ACCESS program for all of their

core academic classes take the MCAS-Alt exclusively and are not on the high school diploma

track. (A.R.319, l.25-A.R. 320, l.2).

       80.     Natick explained that pursuant to the law for transfer students, they were

required to provide services that were comparable to the current IEP; however, “we could

agree to start C.D. in the ACCESS program based upon the information we have currently.”

(A.R.314).

       Natick’s Response: Admitted that Natick made that statement. Natick adds that it

explained at the meeting that replacement classes would be the most comparable setting to



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C.D.’s placement and services at McAuliffe given class sizes. R.282, ll. 22-24; R.317, ll.1-4;

R.319, ll.9-16.

       Parents’ Reply: Admitted that at the May 24, 2012 meeting Natick indicated that

replacement classes would be the most comparable setting to C.D.’s placement at McAuliffe

given class sizes. (A.R.282, ll. 22-24; A.R.317, ll.1-4; A.R.319, ll.9-16).

       81.        The Parents reiterated that their goal was for C.D. to obtain a high school

diploma. (A.R.319-320).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       82.        Natick referenced Dr. Imber’s report and determined that inclusion would not

be successful... “I’ll be very upfront here: I can’t imagine looking at this report offered by

another family, and saying to that family ‘Let’s consider full inclusion.’ So knowing the

expectation for inclusion classes, I would have significant concerns about her success...”

(A.R.317).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        83.         Parents described the educational model at McAuliffe and C.D.’s success with

 supplementary supports and services in the general education classroom. (A.R.317).

       Natick’s Response: Denied. R.317 is not support for Plaintiffs’ claim that Parents

described the educational model at McAuliffe or C.D.’s success in the general education

classroom.


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       Parents’ Reply: Admitted that A.R.317 does not support Paragraph 83. (See Paragraph

76).

       84.     Natick responded, "That could not happen here...because it doesn't happen,

because public schools have their own staff and their own experts, and they don't allow outside

people to come in and teach their students in their classroom. No public school would allow

that." (A.R.317).

       Natick’s Response: Admitted. Natick adds that its explanation relates to allowing

individuals like Ms. Coellner and Ms. Soden to come into the classroom as paraprofessionals

employed by parents and at parents’ expense.

       Parents’ Reply: Admitted.

       85.     When the Parents noted, “McAuliffe is a public school,” Natick responded,

“Well, O.K. Then I guess I'll just say Natick. But in my experience, I’ve never heard of that

 ...” (A.R.317).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       86.     Natick stated, “I’m not criticizing what happened [at McAuliffe], but I’m just

trying to explain what would happen here, and I think that I’m hearing from Gina and from

everybody, and I know I feel the same way...is...the replacement classes would be much more

comparable to what she’s getting at McAuliffe than the general ed. setting." (A.R.318).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.


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       87.      The Parent's requested information about transition services. (A.R.327).

       Natick’s Response: Denied. The Parents did not ask for information about transition

services at this meeting. R.270-329.

       Parents’ Reply: Denied. The Parents asked for information about opportunities

available after C.D. turned 18 and Natick provided information about ACHIEVE, the post-

high school transition program at Natick. (A.R. 327, ll.6-25).

       88.      Natick mentioned the ACHIEVE Program, which is a public community day

program for ACCESS students aged 18-22 years old in a community-based location; there was

no mention of earlier transition programs or services. (A.R.327)

       Natick’s Response: Denied. The ACHIEVE Program is for any Natick student,

aged 18-22, not just those in the Access program. Some participants have met high school

diploma requirements. R.327, l.21 – R.328, l.12; R.2231, l.4 – R.2232, l.21. The goal is to

ensure that the students have the transition services necessary to succeed. R.2231, l.4 –

R.2232, l.21.

       Parents’ Reply: Admitted that some participants in the ACHIEVE program have

met high school diploma requirements and that the ACHIEVE Program is for any Natick

student, aged 18-22, not just those in the ACCESS program. (See Paragraph 79 infra). The

Parents add that over 90 percent of students in the ACCESS program enter the ACHIEVE

program. (A.R.2283, ll. 17-19), and students in the ACHIEVE program work on daily

living skills, including travel training and meal planning. (A.R.2231, ll.18-A.R.2232, ll.

21).

       89.      The Parents provided their completed registration paperwork to Natick on May

29, 2012, requesting an opportunity to observe the recommended program(s) at Natick as soon


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as possible. (A.R.360-372).

          Natick’s Response: Natick admits that the Parents asked to observe, but denies that

they asked to do so “as soon as possible.” Parents said in a letter: “Given the limited time left

before the end of this school year, please let me know, at your earliest possible convenience,

which programs will be available for observation.” R.360. Due to scheduling complications,

including MCAS, Special Olympics, and the start of final exams, there were no opportunities

available to observe. R.370.

          Parents’ Reply: Admitted to the extent that “as soon as possible” is not a direct

quotation from the Parents’ letter.

           90.     On May 31, 2012, Ms. Dalan observed C.D. at McAuliffe. (A.R.2771).

          Natick’s Response: Admitted.

          Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

          91.    On June 5, 2012, Ms. Dalan informed the Parents that after observing C.D. in

her inclusion classes at McAuliffe, speaking with some of her teachers, and reviewing some of

her work samples, the self-contained ACCESS class at Natick would be appropriate; however,

“in the spirit of cooperation and our attempt to provide a comparable IEP for C.D., we would be

proposing all [Replacement] classes.” (A.R.2771).

          Natick’s Response: Natick admits that Ms. Dalan sent a letter and that letter speaks for

itself.

          Parents’ Reply: Admitted.

          92.    Ms. Dalan also indicated that “due to scheduling complications” ...there were no

available opportunities for the Parents to observe the programs at Natick prior to the fall.


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(A.R.2771).

       Natick’s Response: Natick admits that Ms. Dalan sent a letter and that letter speaks

for itself. See also Natick’s Response to item 89, supra.

       Parents’ Reply: Admitted.

       93.     On June 13, 2012, the Parents’ attorney contacted Natick to express their concern

that it is not in C.D.’s best interest for Natick to be “placing C.D. in a program that they clearly

believe is inappropriate and then within the first couple of weeks of school ‘after C.D. has had

some time to adjust,’ propose moving her to a difference program solely to comply with the

regulations [for intrastate transfer students]; the Parents requested a team meeting during the

summer so that Natick could develop a new IEP [in accordance with the more extensive

procedures required for the development of a new IEP].         (A.R.374).

       Natick’s Response: Natick admits that it received a letter from the Parents’ attorney on

June 13, 2012. The letter speaks for itself. R.374-75.

       Parents’ Reply: Admitted.

        94.       On June 19, 2012, Ms. Dalan sent an email to the Parents, indicating that when

 she observed C.D. at McAuliffe, she “was sitting quietly, sometimes taking notes, and other

 times working to complete given assignments...I did not see her private tutor working with

 her.” (A.R.377).

       Natick’s Response: Natick admits that Ms. Dalan sent an email on June 19, 2012, and

the email speaks for itself. Natick adds that the Parents did not quote the entire paragraph. Ms.

Dalan said that C.D. was “sitting quietly, sometimes taking notes, and other times working to

complete given assignments. I saw her special education teacher work with her in her

history/social studies class, she appeared to be clarifying directions. I did not see her private


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tutor working with her.” The bolded, italicized language is the language plaintiffs left out of their

“quote” in paragraph 94.

        Parents’ Reply: Admitted.

        95.     On July 12, 2012, Ms. Dalan sent an email to the Parents indicating that Natick’s

recommendation of the ACCESS program was based on the discussion at the meeting on May

24, 2012. (A.R.4050).

        Natick’s Response: Denied. Ms. Dalan sent an email on June 19, 2012, not July 12,

2012. This email speaks for itself. R.4050.

        Parents’ Reply: Admitted.

       96.      On July 18, 2012, the Parents’ attorney contacted Natick to follow up on their

request for a team meeting during the summer. (A.R.380).

        Natick’s Response: Denied. The Parents attorney sent a letter on July 13, 2012. R.380.

The letter speaks for itself.

        Parents’ Reply: Admitted.

       97.      In anticipation of a team meeting in the summer, the Parents requested copies

of Ms. Dalan’s notes or her report from her observation of C.D. at McAuliffe.

        Natick’s Response: Natick admits that the Parents requested copies of notes from Ms.

Dalan’s observation. Natick has no knowledge of whether parents requested the copies in

“anticipation of a team meeting in the summer” and Plaintiffs cite no evidence to support that

contention. R.377-78.

        Parents’ Reply: Admitted to the extent that the phrase in “anticipation of a team

meeting in the summer” is not a direct quotation. The Parents add that the father sent multiple

emails to Ms. Dalan requesting copies of her notes in June 2012 prior to the meeting scheduled


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for July 27, 2012. (A.R. 377-378). On June 12, 2012, he wrote, “I am concerned that at [C.D’s]

next IEP meeting, your replacement will not be able to represent you in your absence without

some written information regard your observation.” (A.R.378).

       98.     In Natick’s Response, the Parents were informed that Ms. Dalan did not take

notes, that a report was not required, and that Mr. Tim Luff would be replacing her as

Director of Special Education as of July 2, 2012; Ms. Dalan had indicated that her

“observation was really not intended to change what we talked about at the meeting ...our

recommendation of the ACCESS class for C.D. came from our discussion at the meeting and

Dr. Imber’s Report.” (A.R.377).

       Natick’s Response: Natick admits that Ms. Dalan emailed the Parents on June 19, 2012.

The email speaks for itself. R.377-78.

       Parents’ Reply: Admitted.

       99.     Natick scheduled a meeting for July 27, 2012 to develop a new IEP for

C.D. (A.R.2770).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

 The July 27, 2012 Team Meeting

       100.    Ms. Coellner, Ms. Soden and Dr. Imber attended the meeting on July 27, 2012

with the Parents to present information about C.D.’s strengths, needs and progress at

McAuliffe. (See A.R.270-382).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and


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does not require a reply.

       101.    There was no one present from Natick at the meeting who knew C.D. directly

or indirectly, even though the academic teacher and the speech and language teacher from the

ESY program had both worked with C.D. just a few weeks prior to the meeting. (A.R.2770).

       Natick’s Response: Denied to the extent that the Parents suggest that Natick had an

obligation or reason to require anyone from the ESY program to attend the Team meeting. The

extended school year staff had worked with C.D. for only five weeks, and were unlikely to

provide significant, meaningful information. R.2325, ll.13-18.

       Parents’ Reply: Denied to the extent that Natick had no obligation or reason to invite

staff from the ESY program who had worked with C.D. Admitted that the extended school year

staff, including Ms. Liptak, worked with C.D. for five weeks. (A.R.2325, ll.13-18).

       102.    Ms. Dalan, the only person from Natick who had observed C.D. at McAuliffe,

was no longer employed by the district and therefore did not attend the meeting. (A.R.2770).

       Natick’s Response: Natick admits that Ms. Dalan observed C.D. at McAuliffe and that

she did not attend the meeting because she was no longer employed by Natick.

       Parents’ Reply: Admitted.

       103.    There was no teacher from the ACCESS program in attendance. (A.R.2770).

       Natick’s Response: Denied. A high school special education teacher, Ms. Bresnick was

present at the meeting. R.384, ll.22-23; R.478, 2770.

       Parents’ Reply: Admitted to the extent that Ms. Bresnick was present at the meeting.

       104.    There were no guidance counselors in attendance. (A.R.2770).

       Natick’s Response: Admitted, but states that Natick had no legal obligation or other

reason to have a guidance counselor at the meeting.

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       Parents’ Reply: Denied to the extent that Natick had no reason or obligation to

have a guidance counselor at the meeting.

       105.    Natick noted that the purpose of the meeting was twofold: to discuss C.D.'s

transition to high school, and to develop a new IEP to meet her needs at high school rather than

waiting until the fall. (A.R.385).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       106.    Natick indicated that it would accept Dr. Imber’s test scores for the purpose of

the “current evaluation results” section on the IEP. (A.R.396).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       107.    Dr. Imber cautioned that while his test results are certainly helpful, it was

important to consider the direct experience of Ms. Coellner and Ms. Soden and not just the test

scores alone. (A.R.396).

       Natick’s Response: Natick admits that Dr. Imber made this statement.

       Parents’ Reply: Admitted.

       108.    The Parents expressed their concerns, including whether C.D. would be with

peers who had emotional/behavioral challenges, and how C.D. would access the general

education curriculum; they were particularly concerned about the reduction in ELA services

from five 45-minute sessions to two or three 80-minute sessions as a result of the block

schedule. (A.R.386).

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        Natick’s Response: Denied. In the page that the Parents cite, Mrs. McGovern

 summarized parental concerns. The Parents did not express the concern stated in paragraph

 108. R.386. C.D.’s father did not state that he was “concerned” about the scheduling of English

 Language Arts, but asked how scheduling works for someone like C.D. with memory deficits.

 Id.

        Parents’ Reply: Admitted only to the extent that father did not specifically use the

word “concerned.” The Parents add that Ms. McGovern specifically used the word

“concerns” in her summary of the Parents’ concerns, which was followed immediately by

the father’s question, “And another thing, too, is when we were here in May, I guess the

way the Natick program is structured, that they won’t have ELA every day; they’ll have it

two or three days a week for 80 minutes, as opposed to five times, 45 minutes. And with a

person like Carolyn, who has memory deficits, I’m wondering how that works.” (A.R.386,

ll.17-22).

        109.   Nan Coellner asked whether there are students with autism in the ACCESS

program. (A.R.416).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        110.   Natick responded, “No.” (A.R.417).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       111.    The Parents asked whether there are students with emotional or behavioral


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issues in the ACCESS program. (A.R.418).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       112.    Natick responded, “Some of the kids have – It’s not behavioral disabilities

 [emphasis added]. Some have...multiple challenges...” (A.R.418).

       Natick’s Response: Denied. The language quoted is from the transcript of the July 27,

2012, Team Meeting and does not accurately reflect the nature of the disabilities of the students

in the program. The second sentence and those that follow it are as follows:

                Some of the students have multiple challenges, so they may have
                disabilities in the area of communication and also in reading, or
                they might have -- There’s one person in the program who has a
                health disability as well as a disability in the area of
                communication. But it’s not a behavioral program it’s not a
                social/emotional program. It’s typically the social/pragmatics,
                communication, and the -- sort of the intellectual sort of global
                academic and cognitive needs that are in the program.

 R.418.

       Parents’ Reply: Admitted to the extent that this is the second sentence in the language

quoted. Denied that the language quoted accurately reflected the nature of the disabilities of the

students in the program. The IEPs speak for themselves. (A.R.4182-A.R.4789).

       113.    Ms. Coellner observed the ACCESS program in November 2014; she testified:

               a.      “[S]tudents in the class were somewhat disruptive...walked
                       around...ate.

               b.      There was a film showed...and one boy was slapping his face
                       throughout the film. There was one student who had a 1:1 para who
                       yelled out during the class, would scream out things.”

              (A.R.1703-1704, see generally A.R.1691-1745).


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       Natick’s Response: Natick admits that Ms. Coellner alleged that she observed those

incidents. Natick denies that those incidents occurred. During her testimony, Ms. Michelson

demonstrated the actions that a student displayed. R.2305, ll.9-15. She testified that it was not

disruptive. Id.

       Parents’ Reply: Admitted that Ms. Michelson so testified.

       114.       Ms. Flax observed the ACCESS program in June 2014; she testified:

                  a.        One of the students was very disruptive; he was stimming and
                            humming; there was very little social interaction between the students.

                  b.        At least one, possibly two, were nonverbal.

       Natick’s Response: Natick admits that Ms. Flax testified as such, but she

acknowledged that she did not actually know if any student was nonverbal (R.1886, ll.9-11),

testifying: “I don’t know, because no one would give me the profile of the children. But what I

do know is the children were not talking to each other or the teacher. So my sense is, even if

there were no nonverbal children in that class, there were children who either didn’t have the

language or weren’t using it.” R.1886, ll.11-17.

       Parents’ Reply: Admitted Ms. Flax so testified.

       115.       Dr. Imber observed the ACCESS program in June 2014; he testified:

                       a.   [T]here was one student that was kind of making a lot of
                            loud vocalizations.

                       b.   Another student “got out of his seat to sharpen his pencil, and
                            it seemed pretty normal, except that once he started, he
                            wouldn’t stop. And he was asked to stop several times, and he
                            just kept sharpening the pencil.

       Natick’s Response: Admitted that Dr. Imber testified that he observed these incidents.

Dr. Imber added, however, “But I didn’t see, in the classroom when I observed, I didn’t see

anybody throwing anything or I didn’t see anybody screaming or yelling, but that student was


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making very loud vocalizations was certainly — you know, caught my attention.” A.R.2051,

ll.17-21. Further, when the Access teacher was questioned about whether there were disruptive

students, he said: “No, I mean, students in my class are no different than typical kids. I mean no

classroom is perfect. That’s all I have to say.” R.2458, l.22 – R.2459, l.4.

       Parents’ Reply: Admitted that Dr. Imber and Mr. Francoise so testified.

       116.    Ms. Michelson testified with regard to the ACCESS program: (A.R.2051,

see generally A.R.2015-2132).

                a.     There are currently 11 students and 4 paraprofessionals in the program;
                       5 students in the 11th and 12th grade (four boys and one girl).

                b.     The students have a range in disabilities from being diagnosed
                       with autism, having intellectual disability, traumatic brain
                       injury...

                c.     Some students [only] have functional speech and language, there are
                       no students that are nonverbal.

                d.     When asked to define “nonverbal,” Ms. Michelson responded, “I would
                       say a student that is nonverbal has no verbal communication
                       whatsoever.”

                e.     One student “has limited functional language...he is able to make basic
                       requests. However, his conversational speech is one that [he is]
                       currently still working on.

 (A.R.2282-2320)

       Natick’s Response: Admitted, except for (e). Ms. Michelson said that one student

“might have limited functional language; however, academically he does participate fully in the

class. And all the students in the class participate in general ed electives and have the opportunity

for inclusive general ed classes.” R.2311, Tr.Vol. III, p.132, ll.14-18. She added, “I would just

say that the student is able to answer questions when asked upon.” R.2316, ll.6-7.

       Parents’ Reply: Admitted Ms. Michelson so testified.



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       117.    Mr. Francoise, the lead ACCESS teacher until October 2014 testified:

               a.      In 2012-2013, there were eight (8) students - two (2) girls and six
                       (6) boys, one of whom had a one-on-one aide. Most of them used
                       conversation...;

               b.      Students in 10th grade ACCESS do not take the standard MCAS
                       and would need to be transferred to Replacement classes to do so;
                       and

               c.      It would be very unusual for a student like C.D. transferring into
                       9th grade from a general education program in another district, to
                       be placed in ACCESS for all of his or her academic classes.

(A.R.2433-2483)

      Natick’s Response: Admitted as to paragraph (a) and the composition of the classroom

in the 2012-2013 school year. Denied as to the rest. In terms of conversation, Mr. Francoise

testified that “[m]ost kids use conversation. There are some students that need initiation for them

to converse, but that’s far and few between. We try to make situations in the classroom that

engage all the students, and we put them in situations where it promotes that interaction.”

R.2444, ll.3-8. In relation to the MCAS, Mr. Francoise testified: “As a matter of fact, students

come to me in the ACCESS Program and, based upon their performance and how we interpret

things, if a student -- if I feel a student is kind of borderline prior to the sophomore year, we put

them into replacement classes. So at various times, we’ve had students that were brought into

my program and who showed a lot of promise and were placed in replacement classes. And now,

since that has happened, we’ve had approximately six or seven kids able to pass the regular

MCAS and who will now receive a diploma.” R.2439, ll.11-21. When asked about students

transferring from a general education program to Access, Mr. Francoise testified, “It’s not

typical.” R.2442, l.22. He continued: “I don’t know how to answer it, to be honest with you.”

R.2442, l.24 – R.2443, l.1.



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       Parents’ Reply: Admitted that Mr. Francoise so testified.

        118.    Mr. Francoise initially testified that there were no students with behavioral or

 emotional issues in the 2012-2013 and 2013-2014 ACCESS classes, but then recalled that:

                a.      There was a student who would have outbursts that would
                        be disruptive to the class;

                b.      There was a student with "chewing behavior," but
                        "no classroom is perfect;"

                c.      There was a student with Selective Mutism,
                        who communicated nonverbally through his
                        laptop;

                d.      There was a student who often spoke in a rude tone to
                        teachers and put his head down on the desk and refused to
                        answer questions even when he knew the answers, who
                        was very much lacking in social skills when he entered
                        the ACCESS class as a freshman and did in fact interrupt
                        the class; and

                e.      There was a student who transferred to ACCESS from
                        the Northstar Program for students with serious
                        emotional/behavioral disabilities.

 (A.R.2433-2483).

       Natick’s Response: Denied. The Parents read isolated statements from IEPs and Mr.

Francoise’s testimony describes the students differently. With respect to one student, he testified “I

think that refers to a student that would occasionally have an outburst of some sort…It could be at

some point in time, yes. Those were far and few between.” R.2454, ll.16-17, 21-22. He testified

that the student with the chewing, “had that behavior that was extinguished quite quickly. And this

particular student happens to be a student that started in my class, is no longer in my class, and will

obtain a diploma from Natick High School next year.” R.2458, ll.15-20. He testified about the

student who was allegedly mute as follows:

                He’s a selective mute. But if you know this individual and

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                become connected to this individual, he communicates
                nonverbally and via his laptop quite well.

               This particular student is another student that came to my program
               as a 9th grader, was in an ACCESS situation his whole life. And
               after seeing this student and realizing that this student didn't
               belong in my program, he was put into a replacement situation.
               And this particular student -- I know he has that challenge as a
               selective mute; however, this particular student is obtaining a
               diploma next month. So that’s another success story for Natick.

R.2460, ll.1-13.

About the student in paragraph (d), Mr. Francoise testified:

                I believe I recall that student. When he entered the ACCESS
                Program as a freshman, he was very much lacking in social skills,
                and he was very immature. However, this particular guy has come
                a long way. He took the MCAS Alt, because cognitively he's still
                significantly below grade level; however, this young man has
                done some remarkable things. He obtained a driver's license, and
                he is also completing his school time at Natick and moving on to
                the Achieve Program. But he also has a full-time job, and he
                works for Enterprise now.

                So this guy here -- you know, typically, when kids come to the
                high school, typical kids or ACCESS kids or whatever, there are
                -- I wouldn't consider them behaviors, but there are situations
                where kids are immature and they have to conform to being
                young adults.

                And it’s a whole process when they’re young. So when they
                come to the high school, you know, it's not so much a behavioral
                thing as much as them learning what's correct and learning how
                to conform and act like young adults.

 R.2461, l.12 – R.2462, ll.10.

       Parents’ Reply: Admitted Mr. Francoise so testified. The Parents add that the hearing

officer restricted the Parents from referencing the IEPs in greater detail, and would not permit the

Parents or their witnesses to testify about the redacted IEPs. The Parents also add that the IEPs

speak for themselves. (A.R.4182-A.R.4789).



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        119.    The Parents asked about transition services prior to age 18, and Natick indicated

 that transition planning, which starts at age 14, would be discussed in October and the IEP

 would be revised based on C.D.’s performance at that point. (A.R.392-393).

       Natick’s Response: Denied. Natick said that “we can talk about this a little bit later

but I think the team, the Natick Team, would reconvene in early October, early to mid-October

to see where C.D. is at that point, and talk about any revisions that may need to be made.”

R.393-93.

       Parents’ Reply: Admitted that Natick so stated.

       120.    Referring to C.D.’s IEP that was written in April, Natick noted that while

C.D. “seems to have made progress...C.D. does seem to continue to require a significant

level of support in order to produce work.” (R.397).

       Natick’s Response: Denied. The quote is taken out of context. Natick said: “The IEP

that was written in April, and I know there’s probably been some progress since then, but it

looks like C.D. does still continue to require a significant level of support in order to produce

work. She does seem to have made progress in the socialization and peer interaction realm.”

R.396, l.25- R.397, l.4.

       Parents’ Reply: Admitted to the extent that the quotation is accurate.

       121.    Ms. Coellner and Ms. Soden clarified that C.D. had been in the regular

education setting, kept up with the class, read the same books, and had been part of the regular

classroom, that “significant support” was not accurate, and that she only needed occasional

support, was making progress and doing well; Ms. Coellner and Ms. Soden emphasized the

significance of observing C.D. to confirm their statements. (A.R.397-398).

       Natick’s Response: Denied. Ms. Coellner testified that “I know that she would need


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you to break things down, she would need graphic organizers, she would need to take the test

modified.” R.398, ll.7-9. She added: “[C.D.] has trouble with inference and those things but she

can get the basic, objective meaning from text: ‘What’s the boy’s name? What was the color of

the dog? Where did they go?’ She can give you factual information. She does need help with

inference and more abstract parts from reading.” R.399, ll.17-22.

       Parents’ Reply: Admitted to the extent that Ms. Coellner so testified. The Parents add

that Ms. Coellner also testified that:

               Just to emphasize, again, that Carolyn has been in a regular education
               setting for the past few years. You said significant support; I’m sort
               of sensitive to that. Certainly, we have been there; but certainly,
               when your representative came to observe her, we are basically in the
               back of the room, she’s part of the classroom. And in fact, I realized
               that she only could even recognize who Carolyn was except that she
               was pointed out. She had an opportunity -- The representative had an
               opportunity to speak with her special education teacher, to look at her
               work, and in fact observe her in English, Language Arts, and in
               Science. And basically, she has been functioning in a regular
               education classroom with our support; we are there if she needed us.

               She was able to keep up with the class. She was -- She read the
               same books that the class read. She did basically the same work.
               She does require support, but I wouldn’t call it significant
               support.

       (A.R.397, l.9-A.R.398, l.7).

       122.    Ms. Coellner and Ms. Soden emphasized that C.D. was able to access the

general curriculum at McAuliffe and worked really hard because she wanted to do well;

because she wanted to be in a regular class. (A.R.398).

       Natick’s Response: Admitted that Ms. Coellner and Ms. Soden so testified. Their

testimony was not based upon or tied to any concrete measurements. R.397-398.

       Parents’ Reply: Admitted.

       123.    The Parents expressed concern that the block schedule in all three of the


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Natick High School programs would fail to address C.D.’s individual needs because she

requires continuity due to her memory deficits." (A.R.408).

       Natick’s Response: Admitted that the Parents expressed that concern.

       Parents’ Reply: Admitted. (See Paragraph 108 supra).

       124.    Natick responded that because ACCESS is a self-contained program, subjects

can be infused together. (A.R.408).

       Natick’s Response: Admitted. According to Natick at the July 27, 2012, Team meeting

               there are cases of this program that are infused throughout –
               Because it’s a program, the teacher and the staff of the program
               do infuse instruction in ELA and Math; they try to integrate that
               into the other content areas as well – They teach many of the
               classes. The teacher would not – It’s not like he would be using
               reading and writing strategies, for instance, in the Current Events
               and History class, reinforcing what the students are also learning
               in the reading class. So it helps students – There is reading and
               writing across the curriculum because she’s – It’s a self-
               contained program, to an extent; students are included in
               electives, which I’ll talk about in a minute.

  R.408, l.20 – R.409, l.7.

       Parents’ Reply: Admitted.

       125.    Ms. Coellner noted her concern that C.D. would be isolated in ACCESS,

"Because she is a very normal, regular teenager like all normal, regular teenagers, who has

the same interests in fashion and music and television and all that." (A.R.421).

       Natick’s Response: Natick denies that Ms. Coellner noted a concern about isolation,

but admits the quote. Natick explained that “[C.D.] would be with these students during some

of the core academic classes that she’s in because those are the special education services and

classes, where they do take the modified curriculum. But in the electives, she would be with –

My understanding is she’s with general ed. students . . .” R.420, ll.13-17.


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       Parents’ Reply: Admitted. The Parents add that, while Ms. Coellner did not expressly

say that she was “concerned about isolation,” Ms. McGovern responded, “It seems like that’s

really an area where she flourishes, in her ability to make connections, and so, of course, we

want to capitalize on that, and for sure we’ll work in that way, and have her -- We want her

contained as little as possible so –” A.R.420, l.23-A.R.421, l. 2).

       126.    Natick reiterated that C.D.’s current performance level is low, and “what is a

little bit difficult in hearing you describe her performance is that her scores are so low, that

what you're describing is so inconsistent with the scores – “I mean...what I’m hearing; that

there is a huge discrepancy...we’ve been to the BSEA even had a hearing, so we’ve had a lot of

experts come in…we know this case, we know C.D. I mean, you know, she hasn’t been in

Natick but as far as a student who hasn't been in Natick, I feel that the team knows her, because

we have had the experience of going through the BSEA hearings, that I’m hearing a huge

discrepancy." (A.R.402).

       Natick’s Response: Denied. This is a quote from Natick’s counsel. To the extent

Plaintiffs’ statement of facts is intended to be presented in chronological order, this quote

should be before the one in Paragraph 125.

       Parents’ Reply: Admitted that this is a quote from Natick’s counsel.

       127.    The Parents asked about Ms. Dalan’s report from her observation of C.D. at

McAuliffe; Natick responded that “She did not generate a report because what Tim said, it was

really just sort of a much more informal way of looking at C.D. at McAuliffe, and the

impression that I got from Gina, in speaking with her, echoed what I think we talked about at

the [May] meeting, which essentially was we were looking at what is a comparable IEP and we

decided that if we're looking straight at the IEP, ‘comparable’ is probably the replacement


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classes ... what Natick actually think[s] is appropriate to meet her needs ...what Gina told me

after that observation, and I know what she and the rest of the Natick team felt when we met in

May is that she needs to be in the [ACCESS] program; ...which is what we felt she needed

when we had a hearing at the [BSEA].” (R.402-403).

       Natick’s Response: Admitted. Natick adds that Ms. McGovern further stated that “I

don’t think the team’s impressions have changed, because I don’t think that C.D.’s presentation

has changed very –” R.404, ll.1-10.

       Parents’ Reply: Admitted.

       128.    Ms. Coellner expressed concern that they were not given the opportunity to

observe the ACCESS program in June; she expressed concern regarding C.D.’s access to

regular education books because they worked very hard for C.D. to write three and four-page

compositions and read and take notes and highlight, and she might lose those skills in

ACCESS. (A.R.410-411).

       Natick’s Response: Denied. Ms. Coellner did not express concern about not being

able to observe. She said: “I think it makes sense. Marcia and I had wanted to come visit the

program June so we could help you modify a schedule for her, but we weren’t able to do that.”

R.411, ll.12-14. Natick admits that Ms. Coellner referred to C.D.’s writing three and four page

compositions. Natick adds that Mr. Tagliapietra responded: “Well, we would take where she is

now and push forward.” R.410, ll.12-13.

       Parents’ Reply: Admitted to the extent that Ms. Coellner did not specifically state that

she was “concerned” about not being able to observe. Also admitted that Mr. Tagliapietra

responded as indicated.

       129.    Natick responded that “the ACCESS program serves kids that do have



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cognitive, communication, social/pragmatic deficits or disabilities in those areas. C.D. would,

on paper, fit into that category; she has an intellectual disability and also issues with

communication and social/pragmatic.” (A.R.406).

       Natick’s Response: Denied. This statement was not in response to the concerns

expressed in Paragraph 128 as it occurred chronologically before Paragraph 128. Admitted as

to the quote.

       Parents’ Reply: Admitted that this statement was not directly in response to Ms.

Coellner’s concerns expressed in Paragraph 128. The Parents add that this statement was directly

in response to a question by the Parents’ attorney, who asked, “The replacement program is for

students who have, like mild to moderate disabilities; and then the Access program is more severe

disabilities? (A.R.406, ll. 13-15).

       130.     The Parents reiterated that C.D. read the books on the Natick 9th grade syllabus in 8th

grade and asked why inclusion with supports and services would not be possible in the general

education class, especially since she already read the books. (A.R.413).

       Natick’s Response: Denied. This statement was not a response to Paragraph 129.

R.406. Additionally, this was not a “reiteration” because the Parents had not mentioned it

previously at the meeting. R.413.

       Parents’ Reply: Admitted that this statement was not directly in response to

Paragraph 129. Denied that this was not a reiteration. Earlier in the meeting Ms. Coellner

stated, “Well, for example, they certainly read To Kill a Mockingbird and they read Lord of the

Flies.” (A.R. 401, ll., 12-13). The Parents also add that at the previous meeting on May 24,

2012, the father stated, “I went to a meeting here in January; one night they had a, I guess like

a, for potential people going to Natick High School, and the general education books, I think,


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for ninth grade at the time were The Odyssey and To Kill a Mockingbird. Now, she’s read To

Kill a Mockingbird this fall and last year she read The Odyssey. So at McAuliffe, they’re doing

some pretty high level reading that’s comparable to the general education class here.” (A.R.

296, l.21-A.R. 297, l.3).

       131.     Natick responded that, “Well, given C.D.’s level of need, and given some of

the other activities that go along with those -- It's not just decoding the text; it's also inferencing,

it's instructing meaning from the text, and it's working on a textual analysis at a high-school

level, and I think we believe that the most appropriate place for her to truly access the

curriculum would be in the ACCESS program.” (A.R.413).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       132.     The Parents asked, “Instead of doing that, why don't we go the other way? Put

her in the general education with support, and see what she can do. And if she doesn't work,

well then we move her down.” (A.R.413).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       133.     Natick responded, “Personally, I would not recommend that based on the IEP

that I see in front of me, and in consultation with my team.” (A.R.413-414).

        Natick’s Response: Admitted.

        Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.


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       134.      The Parents asked whether C.D. could succeed in the Replacement classes

[with supplementary supports and services]? (A.R.414).

       Natick’s Response: Denied. Natick does not see any such question on R.414.

       Parents’ Reply: Admitted to the extent that this was not a quotation. The Parents add

that the specific question asked by the Parents’ attorney was, “And not even in the

Replacement class?” (A.R.414, l.8). This question was directly related to Ms. McGovern’s

statement that, “we believe the most appropriate place for her to truly access the curriculum

would be the ACCESS program” (A.R.414, l.18-20), to which the father had asked, “Instead of

doing that, why don’t we go the other way? Put her in the general education with support, and

see what she can do. And if she doesn’t work, well then we move her down.” (A.R.414, ll.21-

24), and Ms. McGovern’s direct response that, “Personally, I would not recommend that based

on the IEP that I see in front of me, and in consultation with my team.” (A.R.413, l.25-

A.R.414, l.2).

       135.      Natick replied, “based on what we’re seeing on paper, the team is saying

the ACCESS program.” (A.R.414).

       Natick’s Response: Admitted. Natick continued: “But I think you’ve heard a lot of

flexibility within that program, and there’s no desire to keep a student in that program who

doesn’t need to be in that program. It’s actually quite the opposite, so there’s a lot of

encouragement and opportunity to move forward.” R.413, ll.9-14.

       Parents’ Reply: Admitted that Natick made this statement.

       136.      On July 30, 2012, the Father requested additional information regarding the

ACCESS program, and copies of C.D.’s work from ESY to assist them in making a

decision regarding the IEP that would be proposed for C.D. (A.R.451).


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         Natick’s Response: Admitted that C.D.’s father requested additional information.

Denied on the reasons for the request as there is no evidence of the reason on that page.

R.451.

         Parents’ Reply: Denied. The father specifically stated by email to Ms. McGovern,

“Thank you for meeting with us last Friday. As a result of the meeting, I would like the

following information to sort some of the uncertainties in my mind.” (A.R.451).

          137.   On July 31, 2012, Natick responded that a proposed IEP had been mailed and

 that “regarding your request for information about the ACCESS program, you raise good

 questions...I suggest that you, [C.D.’s mother] and I meet with Jim Francoise, the lead teacher

 of the program, at the beginning of the school year...” (A.R.453).

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

The Proposed IEP for 2012-2013 (dated July 27, 2012-April 4, 2013)

         138.    On August 1, 2012, Natick provided the Parents with the proposed IEP for the

2012-2013 school year, recommending the ACCESS program for all of C.D.’s academic

classes. (A.R.2628).

         Natick’s Response: Admitted, except as to the date. The IEP was issued on July 30,

2012. R.2619.

         Parents’ Reply: Admitted.

         139.    The proposed IEP did not include a transition plan. (A.R.2628).

         Natick’s Response: Admitted. There was no transition plan, but Natick did not have

sufficient information at the July, 2012 meeting to develop a transition plan. The additional


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information section states: “The Team will reconvene in October 2012 to discuss C.D.’s

progress and ongoing transition to Natick High School and to make revisions to the IEP as

necessary. At this time, the Team will also develop a transition plan for C.D.” R.2619.

Moreover, Natick notes that the IEP contained transitional services, such as a vocational

services. R.2617.

       Parents’ Reply: Admitted only to the extent that the Service Delivery Grid indicated

that “Vocational” services would be included among the services provided. The IEP speaks for

itself (A.R.2617).

       140.    On August 14, 2012, the Parents rejected the IEP for multiple reasons,

including the lack of a transition plan, and placement in the ACCESS program for all of her

academic classes. (A.R.3427).

       Natick’s Response: Denied. The IEP speaks for itself. R.2602-2621. The Parents’

rejection speaks for itself. R.2623-24. Parents’ rejection is dated August 9, 2012. Id. It

includes no mention of the transition plan. Id. It is the letter from the Parents’ attorney,

notifying Natick of the Parents’ intent to unilaterally place, dated August 14, 2012. R.3427.

The August 14, 2012 letter does not mention a transition plan either. R. 3427.

       Parents’ Reply: Admitted. The Parents add that the Parents rejection included a

chart not cited in Natick’s Response which showed the reduction in services (A.R.2625).

       141.    The Parents provided Natick with notice on August 14, 2012, that they would be

unilaterally placing C.D. at Learning Prep for the 2012-2013 school year and seeking

reimbursement from Natick. (A.R.3427).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and



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does not require a reply.

 The May 22, 2013 Team Meeting

        142.    Natick scheduled a meeting for May 22, 2013 for C.D.’s annual review

 (A.R.3413).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

        143.    There was no one from Learning Prep in attendance at the meeting

 (A.R.3306).

       Natick’s Response: Natick admits that no one from Learning Prep was at the meeting.

Natick adds that it had reports from Learning Prep teachers in the areas of history, biology, and

language arts/literature, and that it reviewed the information provided. R.566-68; R.571.

        Parents’ Reply: Admitted.

 The Proposed IEP for 2013-2014 (dated May 22, 2013-May 22, 2014)

        144.    Following the meeting, Natick proposed an IEP for the 2013-2014 school year,

 which was practically identical to the IEP proposed for the 2012-2013 year, indicating that

 due to a lack of information, it was unable to update C.D.’s current levels of performance.

 (A.R.2628).

        Natick’s Response: Natick admits that it proposed an IEP for the 2013-2014 school

year. The IEP for the 2013-2014 and 2012-2013 school years speak for themselves. R.572-591;

R.2581- 2602.

        Parents’ Reply: Admitted.



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        145.    Ms. McGovern, Natick’s Director of Student Services, testified that the IEP

 proposed for the 2013-2014 school year had few if any changes from the IEP proposed for the

 2012-2013 school year based on the lack of information given to the chairperson, Ms.

 Molinari-Bates, prior to the meeting; she admitted that the Evaluation Team Leader usually

 makes attempts to obtain information, but since she was not chairing the meeting, she did not

 know whether Ms. Molinari-Bates had invited Learning Prep School staff or requested

 information. She testified that the 2013-2014 proposed IEP was appropriate "based upon

 information Natick had at the time." (A.R.2360; see generally A.R.2343-2347).

       Natick’s Response: Admitted that Ms. McGovern said that “[t]here were very few, if

any, changes made to that IEP, based on Ms. Molinari-Bates’ lack of sort of meaningful

information from providers at Learning Prep at that point” and that the IEP was appropriate.

R.2360, ll.12-15. Natick denies the statement related to requesting information. The question

was: “I’m sorry, did you say you invited Learning Prep to attend that meeting.” Ms.

McGovern responded: “I don’t recall. That would be something that Barbara Molinari-Bates -

at this point I wasn’t chairing – I had chaired one meeting, but I was leaving the chairing of

these other meetings to her.” R.2360, ll.16-22. She then added “I believe that she had received

some feedback from Learning Prep teachers the following year, but I would have to check in

the exhibit book.” R.2360, 181, l.24 - R.2361, l.2.

       Parents’ Reply: Admitted.

        146.    Ms. McGovern testified that the more we know the student, the more we can

 perfect the transition plan, but admitted that no transition assessment was conducted between

 2012 and 2014, and that, in fact, there were no assessments at all conducted between 2012 and

 2014. (R.2360; see generally R.2343-2347).


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        Natick’s Response: Denied. Ms. McGovern said that: “We did not conduct a formal

transition assessment between 2012 and 2014.” R.2392, ll.18-22 (emphasis added).

        Parents’ Reply: Denied. In response to Ms. McGovern’s statement that: “We did not

conduct a formal transition assessment between 2012 and 2014.” (A.R.2392, ll.18-22), the

Parents’ attorney asked, “Did you conduct any assessments?” to which Ms. McGovern testified,

“No.” (A.R.2392, ll.20-22)

        147.     The Parents rejected the IEP proposed for the 2013-2014 school year for the

 same reasons they rejected the IEPs for the 2012-2013 school year, including, but not limited

 to, that the IEP continued to propose placement in the most restrictive program for all of

 C.D.'s core academic classes, which would have not prepared C.D. for the MCAS and would

 not have led to a high school diploma, the block schedule, and the lack of an appropriate

 transition plan. (A.R. 3424).

       Natick’s Response: Denied. The Parents’ letter speaks for itself. R.3424. Natick

notes that the letter does not reference any of the reasoning set out in Paragraph 147. Id.

       Parents’ Reply: Admitted, except that while the letter does not list the specific reasons

for the Parents’ rejection, the letter references their reasons for rejecting the 2012 IEP and

indicates that the proposed IEP is nearly identical to the IEP rejected the prior year. (A.R.3424;

AR.3428).

 The 10th Grade MCAS

        148.     C.D. passed the ELA MCAS in 10th grade and almost passed the MCAS

 in Math and Science/Technology, missing by only a few points. (A.R.3901).

       Natick’s Response: Natick admits that C.D. passed the MCAS in ELA in 10th grade,

but did not pass MCAS in Math and Science/Technology.

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         Parents’ Reply: Admitted.

 The April 15, 2014 Team Meeting

          149.    On April 15, 2014, Natick held a team meeting for C.D.’s Annual Review.

 (A.R.3282).

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

          150.    Natick informed the Parents that it would be conducting a psychological

 evaluation, a speech and language assessment, and academic achievement testing as part of

 C.D.’s 3-year reevaluation. (A.R.3282).

         Natick’s Response: Natick admits that it proposed a psychological evaluation, a

speech and language assessment, and academic achievement testing as part of C.D.’s 3-year

reevaluation. Natick states further that it first proposed this testing on March 12, 2014.

R.597.

         Parents’ Reply: Admitted.

         151.    Natick did not propose a transition assessment. (A.R.3282).

         Natick’s Response: Natick admits that it did not propose a formal stand-alone

transition assessment as part of the three-year reevaluation.

         Parents’ Reply: Admitted. The Parents add that Natick did not propose any transition

assessment as part of the three-year reevaluation. (A.R.597). (See also Paragraph 146 supra).

The First Proposed IEP for 2014-2015 (dated April 15, 2014-April 15, 2014)

         152.    Following the meeting, Natick proposed an IEP that was substantially similar



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to the prior IEPs, which the Parents rejected for multiple reasons, including, but not limited to,

that the IEP continued to propose placement in the most restrictive program for all of C.D.’s

core academic classes, which would have not prepared C.D. for the MCAS and would not

have led to a high school diploma, the block schedule, and the lack of an appropriate

transition plan. (See A.R.3282).

       Natick’s Response: Natick admits that it proposed an IEP for the 2014-2015 school

year. The IEPs for the 2013-2014 and 2014-2015 school year speak for themselves. R.572-591;

R.2551- 2580. The Parents cite no evidence in the record documenting their basis for rejecting

the IEP.

       Parents’ Reply: Admitted that the IEPs speak for themselves. The Parents add that

by notice dated May 27, 2014, they informed Natick that they rejected the IEP for the same

reasons that they had rejected the nearly identical IEPs proposed and rejected in 2013 and

2012, including that a transition assessment had still not been done. (A.R.3423).

The June 13, 2014 Team Meeting

       153.    A Team meeting was scheduled for June 13, 2014 to review Ms.

 Cymrot’s Psychological Evaluation, Ms. Karian 's Speech and Language Assessment, and

 Mr. D’Angelo’s Academic Achievement Testing. (A.R.1657).

       Natick’s Response: Natick admits that it held a Team meeting on June 13, 2014,

and that the meeting was held to develop an IEP and determine and determine placement as a

result of C.D.’s three-year reevaluation. Natick proposed conducting a Transition

Assessment in the upcoming fall when C.D. would be in her junior year. (A.R.3263).

       Parents’ Reply: Admitted.

       154.    Natick proposed conducting a Transition Assessment in the upcoming fall


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 when C.D. would be in her junior year. (A.R.3263).

       Response: Admitted.

       155.    The Father testified that Natick reviewed the evaluations and suddenly

informed the Parents that C.D.’s disability category should be “Communication” instead of

“Intellectual”. (A.R.1657).

        Natick’s Response: Natick denies the categorization of “suddenly.” Ms. Cymrot

and the other evaluators discussed the results of the evaluation at a Team meeting June 13,

2014, in sixteen pages of transcript. R.991-1007. The Team then moved on to the eligibility

flow chart as the process requires. R.1006. Ms. Cymrot explained why she believed that the

proper category was “communication disability.” R.1007-1008.

       Parents’ Reply: Denied. While Natick indicated that it would move on to the

eligibility flow chart as the process requires, there is no evidence that this process ever

occurred. The Parents add that immediately following this statement, Natick went on to state

“And, basically, I just wanted to state that up until now, the last IEP that was developed was

sort of carrying in from the school where it was developed was when she was at [McAullife].

And, at that time, the disability category that has been noted in the IEP is "Intellectual."

Based on all the data here, that disability category is not really supported and I will let Ms.

Cymrot speak to that.” (A.R.1006, l.25-A.R.1007, l.7).

        156.     Ms. Cymrot stated [with regard to C.D.’s psychological evaluation] “the

 results are really very similar to what had been obtained previously ...In terms of

 cognitive functioning, C.D.’s scores were in the extremely low to borderline range.

 (A.R.991).

       Natick’s Response: Denied. This quotation is taken out of context. Ms. Cymrot


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stated on R.991: “The results are really very similar to what had been obtained previously.

The social, emotional and behavior domains appear to be her strengths as you might read in

the report.” Then, two pages later in the transcript, on R.993, Ms. Cymrot states: “So anyway,

in terms of cognitive functioning, C.D.’s scores were in the extremely low to boarder line

range. Her non-verbal reasoning is very consistent with her verbal knowledge and reasoning.

And, it is quite similar to the findings for the testing that was done at the – in 2011.

        Parents’ Reply: Admitted that Ms. Cymrot made these statements.

        157.    With regard to C.D.'s disability category, Ms. Cymrot stated, “...basically,

I just wanted to state that up until now...the disability category that has been noted in the

IEP is “Intellectual." Based on all the data here, that disability category is not really

supported ...so, we are looking at noting her disability category as communication.”

(A.R.1006-1011).

        Natick’s Response: Denied. This quote is not from Ms. Cymrot. It is from a

“female speaker.” R.1006-1007. The quote references Ms. Cymrot in third person, so it

cannot be Ms. Cymrot speaking. Id. The quote in paragraph 157 is also not accurate. The

speaker said: “And, basically, I just wanted to state that up until now, the last IEP that was

developed was sort of carrying in from the school where it was developed was when she was

at Christa McCalla [sic]. And, at that time, the disability category that has been noted in the

IEP is ‘intellectual.’ Based on all the data here, that disability category is not really supported

and I will let Ms. Cymrot speak to that.” R.1006-1007.

        Parents’ Reply: Admitted.

        158.    In response to the change in C.D.’s disability category, the Father stated,

“This is the first time I heard it ...it is upsetting, it has been intellectual disability for years,


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and so to hear the change...” (A.R.1006-1011).

         Natick’s Response: Natick admits that C.D.’s father made these comments, although

it notes again that the quotes are separated by a page in the transcript. R.1008-1009. Natick

adds that after the quoted sentence, C.D.’s father added: “But she has also had substantial

language processing both receptive and expression over a long period of time.” Id.

         Parents’ Reply: Admitted.

         159.   With regard to the proposed placement, Natick stated, “...based on all the

information it probably would seem -be most logical, for C.D.to be in our small group

English.” (A.R.1011).

         Natick’s Response: Natick admits that a female speaker made this statement.

         Parents’ Reply: Admitted.

The 2nd Proposed IEP for 2014-2015 (dated June 13, 2014 – June 13, 2015)

         160.   For the first time since July 2012 when Natick proposed its initial IEP,

Natick now proposed a “blended” program for C.D. (A.R.2529).

         Natick’s Response: Denied. Natick proposed replacement classes in June, 2012.

R.370.

         Parents’ Reply: Denied. Natick did not propose replacement classes in any IEP

prior to June 13, 2014. (A.R. 3328-3282). The IEPs speak for themselves. (Id.)

         160.   Natick now proposed placement in the general education classroom for

History, Replacement classes for English and Science, and Math and Reading (as

opposed to English) in the ACCESS program. (A.R. 2529).

         Natick’s Response: The June 13, 2014, to June 13, 2015 IEP speaks for itself. R.2529-
2550.


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       Parents’ Reply: Admitted.

       161.    Although Natick proposed some classes in the general education classroom

and some Replacement classes, they were still proposing the ACCESS program for Math,

which would not have prepared C.D. for the Math MCAS and receipt of a high school

diploma; in addition, a transition assessment had still not been completed. (A.R.2529).

       Natick’s Response: Natick admits that it proposed social studies in the general

education classroom. It proposed math and reading comprehension through the Access

program. R.2528. Natick proposed a transition assessment for C.D. R.2528. Natick denies

that it would not have prepared C.D. for the Math MCAS or a high school diploma. Natick

demonstrated that students in the Access program were routinely placed in replacement

classes when their abilities and classroom performance indicated that it was appropriate, and

that the replacement classes allowed students to access the general curriculum. R.2191, ll.2-

8; R.2298, ll.20-23; R.2322, ll.5-13; R.2396, ll. 3-15; R.2439, ll.11-21; R.2440, ll.13-23.

       Parents’ Reply: The Parents admit that Natick proposed a transition assessment on

June 17, 2014 (A.R.2742-2744). The Parents deny that Natick would have prepared C.D. for

the Math MCAS or a high school diploma (A.R.2954-2957). The Parents admit that students

in the ACCESS program may be moved into the replacement classes and that the

replacement classes allowed students to access the general education curriculum. (A.R.2298,

ll.20-23, A.R.2322, ll.5-13; A.R.2396, ll. 3-15; A.R.2439, ll.11-21; A.R.2440, ll.13-23).

       162.    On July 7, 2014, the Parents rejected the IEP and proposed placement for

multiple reasons, including that a transition assessment had not yet been conducted, the total

hours in the service delivery grid exceeded the hours available in the school’s 4-day cycle so

there appeared to be no time available for speech/language, the Math goal focused solely on

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multiplication, and placement in the ACCESS program for Math would only expose C.D. to

functional math and would not prepare her for the MCAS. (A.R.3428).

       Natick’s Response: The Parents’ rejection stands for itself. R.3420.

       Parents’ Reply: Admitted.

      163.     As a result, the Parents informed Natick that they had decided to exercise

their right to obtain independent educational evaluations at their own expense, including,

but not limited to, an assessment of C.D.’s activities of daily living (ADLs). (A.R.3427).

        Natick’s Response: Denied. R.3427 contains no notice of obtaining an independent

evaluation.

       Parents’ Reply: Admitted that A.R.3427 does not contain the Parents’ notice.

       164.    The Father testified that one of the main issues at the team meeting in June

2014 was Natick’s change in disability category for C.D. from Intellectual to

Communication, which was suddenly announced by Natick without notice and which

appeared to have clearly been determined prior to the meeting. (See A.R.1610-1690).

       Natick’s Response: Denied. The Father did not testify that “one of the main” issues

was the disability category. He testified that “One of the things that bothered me was the

change in disability category from intellectual to communication. That’s another

surprising thing that happened in the June of 2014 meeting. I went to the meeting and it

was sprung on me that her disability category was changed. I didn’t know about it before

I went to the meeting.” R.1657, ll.8-14.

       Parents’ Reply: Admitted.

       165.    The Father testified that while it is reasonable for teachers to discuss students

amongst themselves regarding lesson plans etc., it is not appropriate to change the disability


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category – “that's a serious thing.” (See A.R.1610-1690).

       Natick’s Response: Admitted that C.D.’s father so testified.

       Parents’ Reply: Admitted.

       166.    Ms. Cymrot testified on direct exam with regard to the change in category: C.D.

received a full scale IQ score between 66 and 74, which placed her in the extremely low range

and borderline range for cognitive abilities and met the criteria for an intellectual disability

based on her cognitive ability, but concluded that C.D.'s disability category should be

communication instead of intellectual, because according to the DESE criteria, the social and

practical domains must also be considered. (A.R.2139-2140).

       Natick’s Response: Denied. Ms. Cymrot provided the testimony referenced in

relation to a question on observations. She said: “The 95 percent confidence interval places

her score in the extremely low range, with a score between 66 and 74. So that 95 percent of the

times that this test is administered, she would score somewhere within that range. So it really

flanks the extremely low and borderline range.” R.2139, l.19 - R.2140, l.1. She then

continued in response to whether she met the criteria of intellectual ability: “In terms of

cognitive ability, she would have, yes. But the criteria for intellectual impairment, according to

DESE, is more than just cognitive ability. One has to look at practical domain and overall

adjustment – overall adjustment. And so part of this – yes, the social domain as well as the

practical domain.” R.2140, ll.7-13.

       Parents’ Reply: Admitted that Ms. Cymrot so testified.

       167.    During cross-examination, Ms. Cymrot:

               a.      Admitted that she made the determination that C.D.’s disability
                       category should be changed prior to the assessment of C.D.’s skills
                       in the practical domain, which she knew would be assessed in the
                       fall of 2014;

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       Natick’s Response: Denied. Ms. Cymrot said that she could make the conclusion

 because the practical domain had been assessed previously. R 2159, l.20.

       Parents’ Reply: Admitted that Ms. Cymrot so testified. The Parents add that there

is no evidence in the record of this previous assessment.

                b.     Conceded that she did not recall whether the team [including the
                       Parents] used the eligibility flowchart required by DESE at the
                       meeting on June 13, 2014 prior to the change in disability
                       category;

       Natick’s Response: Denied. She testified: “I would think so, but I don’t recall.”

 R.2162, l.11. She continued that “I mean, that’s a normal part of a team meeting.”

 R.2162, ll.13-14.

       Parents’ Reply: Admitted that Ms. Cymrot so testified.

                c.     Admitted that she referenced a prior assessment from 2003
                       where C.D. was not diagnosed with an Intellectual Disability,
                       but ignored the assessments from 2007 and 2008 diagnosing
                       C.D. with an Intellectual Disability;

       Natick’s Response: Denied. Ms. Cymrot testified that she did not see a diagnosis of

an intellectual disability or mention of an intellectual impairment in the 2008 report. R.2165,

ll.22-24.

       Parents’ Reply: Admitted that Ms. Cymrot so testified.

                d.     Indicated that she was not aware that all of Natick’s proposed
                       IEPs since 2008 indicated that C.D. had an Intellectual Disability
                       because “I would not have seen or had access to the prior IEPs.”

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.




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                e.     Admitted writing an email to Ms. Molinari-Bates on May 15,
                       2014 stating that she did not need [C.D.’s] file, thereby
                       confirming that she did not review C.D.’s entire record, and
                       conceded that if she had known there were more recent
                       assessments, she might have referenced them in her report;

       Natick’s Response: Denied. The email said that she no longer needed the file

because she found all the records that she needed from two years ago. R.2167, l.17 –

R.2168, l.2. She added that “I might have [used] if I had known. But I had seen the three-year

repeated reevaluations that Natick had done, and then I was able to, as I said earlier, reference

the 4/11 evaluation that was done, and that would have been in the prior three years. So I

would have had no reason to think that there were other evaluations. 4/11 was three years

prior to 4/14.” R.2170, l.22 – R.2171, l.5.

       Parents’ Reply: Admitted that Ms. Cymrot so testified.

        f.      Admitted writing an email to Ms. McGovern, Barbara Molinari-Bates,
                Mark D'Angelo and Ms. Karian asking the recipients to “edit the report
                as needed;”

       Natick’s Response: Denied. She testified that “I would not have expected her to edit

it. She would have told me what she disagreed with or thought needed further clarification.

And I don’t think that the edit would have referred to content, but to any grammatical

mistakes or historical inaccuracies, but not the content of what I was saying.” R.2172, ll.6-12.

       Parents’ Reply: Admitted that Ms. Cymrot so testified.

        g.      Had attended the team meeting on May 24, 2012 but “had not reviewed
                any records at all, other than listening to the report that Dr. Imber
                presented at that meeting,” and actually did not review Dr. Imber’s report
                until the day of the hearing; and

       Natick’s Response: Denied. Natick does not see any such statements in the cross

 examination of Ms. Cymrot.

       Parents’ Reply: Admitted that Ms. Cymrot did not make this statement on cross-

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examination. The Parents add that on direct examination, Natick’s attorney asked “Do you

believe that – well, you’ve seen test results from 2012 for [C.D]? Ms. Cymrot responded,

“No – well, I just looked today. I haven’t seen them previously.” [A.R. 2152, ll. 8-11].

        h.      She did not know whether the change in C.D.’s disability category
                would affect her eligibility for services after graduation.
 (A.R.293-310).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

The Observations and the Motion to Compel

       168.    On May 29, 2014, the Parents requested the opportunity for themselves and Dr.

Imber and Ms. Flax, to observe the proposed program for C.D. at Natick High School, including

both academic and non-academic components of the program. (A.R. 3126).

       Natick’s Response: Admitted that the Parents made the request.

       Parents’ Reply: Admitted.

       169.    The Parents specifically requested “observations that are of sufficient duration

and extent for the parents and their designees to observe the ACCESS program and meet with

Mr. Francoise and the speech-language pathologist. (A.R. 3126).

       Natick’s Response: Admitted that the Parents made such a request.

       Parents’ Reply: Admitted.

       170.    Observations were scheduled for Dr. Imber and Ms. Flax to observe the

ACCESS program and general education gym class on June 10, 2014, and confirmed by

email on June 9, 2014, in which Natick stated, “While we will permit the observers to ask Mr.



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Francoise brief factual questions related to their observation, the SLP will not be available.”

(See A.R.31263143).

         Natick’s Response: Admitted.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require A reply.

         171.   The Parents’ attorney forwarded the email from Natick to the Parents, Dr. Imber

and Ms. Flax to inform them of the schedule, the unavailability of the SLP, and the conditions

placed on their observations with regard to their conversations with Mr. Francoise. (See A.R.3126-

3143).

         Natick’s Response: Denied. There is no evidence in the record that Parents’ attorney

forwarded the email.

         Parents’ Reply: Denied. The Parents state that both Ms. Flax and Dr. Imber

referenced their receipt of this information from the Parents’ attorney in their verified

affidavits. (A.R. 3144, A.R. 3152,)

         172.   On June 10, 2014, Dr. Imber and Ms. Flax were accompanied by Ms. McGovern

to observe the ACCESS program and general education gym class; although Dr. Imber and Ms.

Flax did not agree with the conditions placed on their conversations with Mr. Francoise, they

complied with them fully. (See A.R.3144-3154).

         Natick’s Response: Denied. Ms. McGovern was not present during the observation.

R.1795, ll.6-8. Natick also denies the characterization that Dr. Imber and Ms. Flax complied

fully with Natick’s observation requirements. R.1284.

         Parents’ Reply: Denied that Ms. McGovern was not present during the observation.

There is no evidence on the pages in the record Natick cites supporting its response to


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Paragraph 172. The Parents add that there is substantial evidence on the record supporting Ms.

McGovern’s presence during the observation, not only provided by Dr. Imber and Ms. Flax, but

also by Mr. Francoise and Ms. McGovern herself.

       In their affidavits, both Dr. Imber and Ms. Flax not only referenced Ms. McGovern’s

presence at the observation in their verified affidavits, but also the stated the information she

provided. Dr. Imber swore:

               I recall that Ms. Lindsey McGovern, the Assistant Director of Special
               Education, briefly discussed how the ACCESS program had changed
               since she began to work in Natick in 2012, and my impression was
               that she was simply trying to clarify the current program by
               contrasting it to what it was previously; while I did not ask for this
               information, I listened to what Ms. McGovern decided to share and
               felt that the information was helpful in clarifying what the proposed
               program represented.

(A.R.3170).

Ms. Flax swore:

               Neither Dr. Imber nor I asked for Mr. Francoise to introduce us to his
               students or provide us with an overview of the program, including the
               reading program, the math program, and the use of technology within
               the program; he and Ms. McGovern also provided information about
               the Achieve program.

               Ms. McGovern was present throughout the observation/ consultation,
               contributed unsolicited information and did not intercede in any way
               to limit Mr. Francoise’s description of the program and the students
               within the program, without any direct inquiry on my part.

(A.R.3146).

       In addition, Natick referenced Ms. McGovern’s presence at the observation in its

Opposition to the Parents’ Motion to Compel, stating: “On June 10, 2014, Mr. Francoise, the

lead teacher of the Program, Ms. Molinari-Bates, the Evaluation Team Leader, and Ms.

McGovern, Assistant Director for Student Services all spoke to Ms. Flax and Dr. Imber.”

(A.R.3159).

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       Mr. Francoise testified, “I think Ms. McGovern was with them once or -- and Barbara

was also.” (A.R.2470, ll.7-11).

       Ms. McGovern herself testified: “I met with [Ms. Flax] and Jim Franciose and Dr. Imber

the previous year, the previous June.” (A.R.2363, l.23-A.R.2364, l.2); and “Suzanne Flax and Dr.

Imber and I met with Jim Franciose, and I believe that was in --that was actually in 2014. It

might have been in May or early -- they're saying June.” (A.R.2368. ll.14-17).

       173.    On September 14, 2014, as part of their independent educational evaluations, the

Parents requested the opportunity for themselves and their evaluators/consultants, Ms. Coellner,

Dr. Imber, Ms. Flax, and Dr. Roffman to observe the proposed program for C.D. at Natick,

including both academic classes and lunch period. (R.3130).

       174.    Natick’s Response: Natick admits that the Parents requested the opportunity to

observe the proposed program and have their evaluators observe the program. Natick adds that

observations were scheduled and that the arrangements for asking questions of teachers and

service providers were addressed by the BSEA and were the subject of a BSEA order. R.1399.

       Parents’ Reply: Admitted. The Parents add that the BSEA order was in response to

the Parents Motion to Compel. (A.R.732-944; A.R.3112-3173). The Motion to Compel and

the BSEA Order speak for themselves. (Id.)

       175.    Between September 15, 2014, and October 24, 2015, Natick’s attorney sent

multiple emails to the Parents’ attorney specifying the conditions that would be placed on the

observations; (for example, on October 23, 2014, Natick informed the Parents through their

attorney, “these are observations, we are not setting aside a time for your experts to speak with

Natick staff. Each visitor will have an escort who will be available to answer basic factual

questions about what is being observed...we are not going to allow your experts to speak with



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Natick staff at any time prior to the IEP team meeting except for basic questions that might

come up during the observation which relate to clarifying what is being observed.)”

(A.R.3131).

       Natick’s Response: Natick admits that it agreed to permit the Parents and their

evaluators and consultants to observe the program, but that speaking with staff and asking

questions was addressed by, and was the subject of, a BSEA order which permitted written

questions. R.1399.

       Parents’ Reply: Admitted that the BSEA order addressed the specific relief

requested by the Parents in their Motion to Compel and the documents speak for themselves.

(A.R.1399; A.R.3112-3173).

       176.     On October 24, 2014, at 1:00 PM (during the ongoing observations that day),

Natick’s attorney contacted the Parents’ attorney and indicated that she was just informed that,

“both Dr. Imber and Ms. Flax asked for time to talk with staff during their observations today. I

do not think I could have been more clear with you about the fact that we were not going to

allow this. Why were your people under the impression that they would be allowed to have

these conversations? This is extremely concerning to me. They seem to think that they will be

allowed to return and again we will not allow this. Please explain to me why both Dr. Imber

and Ms. Flax made these requests today after I had been explicit with you about the district’s

position?” (A.R.3140).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       177.     The Parents’ attorney contacted the Parents’ evaluators, including Dr. Imber


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and Ms. Flax regarding their observations and was informed that they not only completely

abided by the conditions placed upon them by Natick, but also, they were denied the

opportunity to obtain even basic information. (See A.R.3144-3154, A.R.1168, A.R.1173).

       Natick’s Response: Denied. There is no evidence on the pages in the record Plaintiffs

       cite supporting paragraph 177. In fact, Ms. Flax stated in her affidavit in support of

       Parents’ motion to compel that during the October 24, 2014 observation, she asked

       questions of the teacher, Mr. Coleman. R.3147, ¶27.

       Parents’ Reply: Denied. Both Dr. Imber and Ms. Flax stated in their verified

affidavits that they were advised by the Parents’ attorney of the conditions placed upon them

by Natick, that they complied with the conditions, and as a result they were unable to obtain

the information they needed to do their jobs. (A.R.3144-3154, A.R.3167-3173). The Parents

add that Natick’s representation of Ms. Flax’s statement is incomplete and misleading. More

specifically, Ms. Flax swore:

               When I arrived on October 24, 2014, my administrative escort, school
               psychologist Donna Cymrot, made it very clear that I was not to talk
               to the Replacement English Teacher, Nick Colman, under any
               circumstances.

               l was surprised therefore, when Mr. Coleman actually approached me
               during the class break and appeared to be unaware or concerned that
               he was not supposed to talk to me.

               Since Mr. Coleman approached me and initiated a conversation and Ms.
               Cymrot did not intervene, I asked a few very ''basic questions, including
               whether I could have a class syllabus and he offered to e-mail it to me; Ms.
               Cymrot allowed Mr. Coleman to explain some of the basic modifications he
               was using in the class, and then Ms. Cymrot stepped in and curtailed any
               further conversation.

               After, Ms. Cymrot curtailed my conversation, I attempted to ask her
               some basic questions, but she was unable to answer them.

               As a result of my inability to speak with Mr. Coleman, I was unable to

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               figure out how he was modifying the curriculum for the students or
               how he might modify the curriculum and services to accommodate
               [C.D.].

(A.R.3147).

        178.   Despite Natick’s representation that the Parents’ “experts had full access to

observe and ask clarifying questions during the observations,” the Parents’ independent

evaluators and consultants did not have full access to observe and were not even permitted to

ask basic questions during the observations. (See A.R.3144-3154).

        Natick’s Response: Denied. Ms. Flax swore in her affidavit that she received

information from Natick and asked questions. R.3146-3147. Dr. Imber also swore in his

affidavit that he was able to ask questions and received information from Natick. R.3151-

3152.

        Parents’ Reply: Admitted to the extent that both Dr. Imber and Ms. Flax stated that

Mr. Francoise and Ms. McGovern both provided information about the ACCESS program

when they observed on June 10, 2014, which was prior to the receipt of Natick’s proposed

IEP dated June 13, 2014 - June 13, 2015, proposing a different “blended” program. Denied

with regard to the observations conducted in October 2014, following the receipt of Natick’s

proposed IEP dated June 13, 2014 - June 13, 2015, proposing a different “blended” program.

The Parents add that both Dr. Imber and Ms. Flax swore in their respective affidavits that

due to the conditions placed upon their observations by Natick, they were unable to obtain

even basic information. Dr. Imber swore:

               I asked my escort, Ms. McGovern, if I would be given any time to meet with
               her after school, rather than asking my questions during the class time (which
               could be potentially disruptive); she stated that I would not have that
               opportunity.




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                 I then asked her if I could ask a few questions during the class time, and she stated
                 that she was not permitted to speak with me; I then stated that it was my
                 understanding that I could ask basic questions, to which she responded that I was
                 correct, but then informed me that basic questions meant I could ask questions
                 such as, which class I was observing, and the number of students within the
                 classroom.

                 Therefore, despite Natick’s representation that I could ask basic questions to
                 clarify what was being observed, I not only did not get to ask any clarifying
                 questions, I could not even get one basic question answered.”

(A.R.3151-3153).

       The Parents add that Natick’s representation of Ms. Flax’s testimony is incomplete

and misleading. (See Paragraph 176 supra).

       179.      On October 30, 2014, Natick’s Attorney informed the Parents’ attorney that,

“...The reason that the evaluators were not permitted to have substantive conversations with

staff during their observation is that Natick had allowed this with your experts in the past and

felt as though the conversations turned into interrogations.” (emphasis added). (See generally,

A.R.732-944).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       180.      The Parents’ Attorney contacted the Parents’ evaluators, including Dr. Imber

and Ms. Flax regarding their observations and was informed that they behaved completely

appropriately and had no idea what Natick was referring to. (See generally, A.R.732-944).

       Natick’s Response: Denied. Plaintiffs have not cited anything in the record to support

paragraph 180.

       Parents’ Reply: Denied. The Parents indicated in their Motion to Compel that:



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“Parents’ Attorney contacted the Parents’ evaluators, including Dr. Imber and Ms. Flax

regarding their observations and was informed that they not only completely abided by the

conditions placed upon them by Natick, but also, were denied the opportunity to obtain even

basic information.” (A.R.738, A.R.3036). In addition, both Dr. Imber and Ms. Flax addressed their

knowledge of the conditions placed on their observations and their compliance with those conditions

in their respective affidavits. (A.R.3144-3154, A.R.3167-3173).

          181.   The Parents’ filed their Motion to Compel as a result of these incidents. (See

A.R.3112).

          Natick’s Response: Natick admits that the Parents filed a Motion to Compel.

          Parents’ Reply: Admitted. The Parents add that the Motion to Compel speaks for

itself.

          182.   Dr. Roffman provided testimony regarding her unanswered questions following

her observation of the transition class:

                 “I think it was meant to be divided into two 40-minute sections; it
                 was unclear. We were not allowed to ask questions... I wasn’t
                 sure how this 80 minutes fit together, and if what benefit it was,
                 and where it stood in terms of being steps towards curricular
                 goals. I wasn’t allowed to ask questions, so I wasn’t able to
                 discern that.” (See A.R.1764).

          Natick’s Response: Denied. The quote is not accurate. Dr. Roffman did not testify to

the first part of the quote. She testified: “And the period ended without a recap. There was no

discussion about what had happened at the actual hands-on placements that I had observed

earlier. So I wasn’t sure how this 80 minutes fit together, and of what benefit it was, and where

it stood in terms of being steps toward curricular goals. I wasn’t allowed to ask questions, so I

wasn’t able to discern that.” R.1764, ll.2-9.



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       Parents’ Reply: Admitted.

       183.    Ms. Flax provided testimony regarding her unanswered questions following

her observation of the English Replacement class:

                “I didn’t have the chance to speak to Nick Coleman when I observed the
                [R]eplacement class... part of being a good placement is also the profile of
                children within the class, and since those questions weren’t answered, I had no
                way to complete my report.” (R.A. 1860-1861).

       Natick’s Response: Denied. There is no such quote in the record at R.1860-1861.

       Parents’ Reply: : Admitted to the extent that the quote does not appear in the record

at A.R.1860-1861. The correct cites are: A.R. 1872, l.1-3, where Ms. Flax testified, “I didn’t

have the chance to speak to Nick Coleman when I observed the [R]eplacement class; and

A.R.1872, l.23-A.R.1873, l.7., where Ms. Flax testified, “part of being a good placement is

also the profile of children within the class, and since those questions weren’t answered, I

had no way to complete my report.” (Id.)

       184.    With regard to his observations of the proposed program, Dr. Imber testified:

                “I was not permitted to ask any questions whatsoever, so I was
                not able to really find out anything about the curriculum. I didn’t
                see a syllabus...I didn’t get to see worksheets... I wasn’t really
                able to determine anything about the kids in the program or what
                the teacher’s objectives were.” (A.R.2057).

       Natick’s Response: Admitted that Dr. Imber so testified.

       Parents’ Reply: Admitted.

       185.    Mr. Francoise testified that when Ms. Flax and Dr. Imber observed the ACCESS

program in June 2014, they did not act in any way inappropriately. [emphasis added].

(A.R.2470).

       Natick’s Response: Denied. The quote from Mr. Francoise is “No. They were fine.”


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R.2470, l.18.

        Parents’ Reply: Admitted.

       186.        The hearing officer refused to allow Mr. Francoise to testify about the

allegations made by Natick against Dr. Imber and Ms. Flax with regard to their

observation of his class:

                   Parents’ Attorney: “[w]ere you aware that the school district had
                   accused them of interrogating you and making you feel...”

                   Hearing Officer: “This is not relevant, and this is not an issue
                   before me...I’ve already resolved the issue of evaluations and
                   access to evaluations.”

                   Parents’ Attorney: “This goes to administrative exhaustion and I
                   need to have it on the record.”

                   Hearing Officer: “You can get the question on the record, but it’s
                   not relevant to this proceeding. So I’m not going to have the witness
                   answer it.” (A.R.2471).

        Natick’s Response: Admitted that the hearing officer ruled that the question was not

relevant. Natick adds that the Parents are not citing the full transcript. Please see R.2470-71 for

the full quotes.

        Parents’ Reply: Admitted.

The November 14, 2014 Team Meeting

       187.        Natick scheduled a team meeting for November 14, 2014 to review the

Transition Evaluation which was finally conducted in October 2014. (A.R.3404).

        Natick’s Response: Natick admits that it conducted a Team meeting to review the

transition evaluation.

        Parents’ Reply: Admitted.

       188.        On November 13, 2014, the Parents sent evaluations conducted by their


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Educational Evaluators to Natick in preparation for the team meeting on November 14,

2014. (See A.R.3662, A.R.3802, A.R.3876).

       Natick’s Response: Natick admits that the Parents provided a neuropsychological

 evaluation and two incomplete evaluations.

       Parents’ Reply: Admitted.

       189.    Given that the Parents’ Motion to Compel was pending at the time of the

team meeting, Dr. Imber’s report and Ms. Flax’s report were submitted to the extent that

they could be completed pending the ruling on the Parents' outstanding motion. (See

A.R.3662, A.R.3802, A.R.3876).

        Natick’s Response: Denied. There is no evidence on the pages cited for the reasons
the reports were incomplete.

       Parents’ Reply: Admitted that the evidence is not on the pages cited. The Parents

add that Natick was advised by email that “since the district has restricted all of the parents’

independent evaluators from consulting with service providers/teachers on the day of their

observations…the parents’ independent evaluators will not be able to complete their

evaluation reports prior to the Team Meeting…” (A.R.3141).

       190.    Ms. Karian did not attend the meeting. (A.R.3401).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       191.    Ms. Karian testified that she was unable to attend the meeting in November

2014 when Ms. Flax presented her report because she was attending a conference, did not

know whether the Parents were previously informed that she would not be attending, and


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admitted that she would have attended the meeting if she had not been at a conference. (See

A.R.2183-2215).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       192.    Ms. Brown testified with regard to the vocational class observed by the

Parents and Dr. Roffman; Ms. Brown explained that the students don't stay at the same

job; at the end of the year, they choose which job in the rotation they like best, cookie

packaging, wiping fitness equipment or setting up library books. (See A.R.2215- 2282).

       Natick’s Response: Admitted that the students rotate through jobs. Denied in terms

of tasks. Ms. Brown testified:

                So we have students -- again, the rotation is, I mean, I think you saw
                some students prefer to do the cookie packaging, because they like
                the roteness and routine of it. And I have other students who refill all
                of the coolers. And obviously Natick High School is a huge school,
                so that’s actually three students working together to do that, to refill
                all the drinks in the coolers.

                We have three students working together as a team refilling all of
                the chips and snack displays. We have other students who help with
                the -- they have a breakfast snack cart in the morning. So there’s an
                employee working there, and they assist with that, with taking
                payment, replenishing it, things like that.
                We have another student who does preparation – he’ll begin,
                actually this week, preparing for -- they have a new smoothy bar, so
                his job is to prepare the ingredients for the smoothy bar. So in the
                cafeteria itself there are a lot of positions.
                ...
                And then we have students working in the fitness center, and then
                we have students working in the library. Some students, their jobs is
                to set up the displays of books. Some other students, their job is to
                set up the wall displays. They have a theme of the month, and they
                have to come up with the theme and then find all of the material.



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                Another student sets up all the PowerPoint presentations, which are
                slides that are presented on the flat screen TVs throughout the building.
                And thats his --

 R.2276, l.8 – R.2277, l.20.

       Parents’ Reply: Admitted that Ms. Brown so testified.

       193.    When asked whether Natick could provide C.D. with vocational

opportunities in her areas of interest, Ms. Brown testified that they could find something in

the cafeteria she was interested in since she was interested in cooking and baking. (See

A.R.2215- 2282).

       Natick’s Response: Admitted. Ms. Brown said specifically, “I mean, I think in the

 cafeteria certainly we could find something that -- she was interested in cooking and baking.

 We could find something more specific for her, yes.” R.2277, l.23 – R.2278, l.2.

       Parents’ Reply: Admitted Ms. Brown so testified.

       194.    Dr. Roffman testified that the after-school program proposed by Natick for

the 2014-2015 school year was not reflected in the IEP itself and it was not clear how the

objectives described on the Transition Planning Form could possibly be addressed in two

80-minute periods after school, and that, regardless, it was not appropriate for a student

working on communication skills to be isolated in a 1:1 program. (See A.R.1745- 1805).

       Natick’s Response: Admitted that Dr. Roffman testified that that was her opinion.

       Parents’ Reply: Admitted.

       195.    On cross-examination, Ms. Brown admitted that:

                a.     As of now, C.D. would be the only student in the proposed after-
                       school transition program and conceded that it had never been
                       implemented before;

       Natick’s Response: Admitted that the after-school program had not been

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implemented before. Denied as to the rest. Ms. Brown said that “If that were to

happen, then C.D. would probably be in the community, working on those skills

with generalized peers.” R.2261, ll.10-12.

       Parents’ Reply: Admitted that Ms. Brown so testified. The Parents that Ms. Brown

also provided the following testimony:

                  Q.   So are you saying that you didn't indicate at the January
                       meeting that Carolyn would be the only person?

                  A.   I mean, as of that point, Carolyn was the only person who had
                       that scheduling need. But it doesn't mean that, in a year, we
                       don't have another IEP meeting where a student has a similar
                       issue and we say, you know, we have a student who is also
                       doing employability skills, and we're going to –

                  Q.   But as of now she would be the only one?

                  A.   Right. She would be the only one, correct.

       (A.R.2262, l. 3-13).

                  b.   She was not qualified to testify with regard to the
                       appropriateness of the change in C.D.’s disability category;

       Natick’s Response: Denied. She testified that she was not qualified to testify as to

 whether “adaptive daily living skills apply to making a determination of a student’s

 disability category with regard to whether it’s intellectual or communication.” R.2259, l.18

 – R.2260, l.2.

       Parents’ Reply: Admitted Ms. Brown so testified.

                  c.   She did not know whether C.D. had passed MCAS or where she
                       stood with regard to the requirements for graduation; and

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and


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does not require a reply.

                d.      She did not recall whether there was a transition plan in the IEPs
                        proposed by Natick prior to her employment in August 2014.

         Natick’s Response: Admitted. R.2215- 2282.

         Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

The 3rd Proposed IEP for 2014-2015 (dated November 14, 2014-June 13, 2015)

         196.   The Parents had questions after the team meeting on November 11, 2014, and

requested an additional meeting to address them; however, Natick responded that another

meeting was not necessary, forcing the Parents to reject the IEP and thereby require a meeting

to have their questions answered; a meeting was then scheduled for January 7, 2015.

(A.R.3400).

         Natick’s Response: Natick admits that the Parents requested a second Team

meeting and that Natick did not believe another Team meeting was necessary. There is no

evidence on the cited page concerning the reason the Parents requested the meeting or why

they rejected the IEP. R.3400.

         Parents’ Reply: Admitted to the extent that the cited page does not provide

evidence concerning the reason the Parents requested the meeting or why they rejected the

IEP. The Parents add that the correct cite is: A.R. 3402-3403, which lists twenty (20)

bulleted reasons why the Parents rejected the IEP. (Id.)

           197. Ms. McGovern admitted in her testimony that she recalled that the Parents

were not able to ask their questions in November because they ran out of time. (A.R.2345-

2425).



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       Natick’s Response: Denied. Ms. McGovern testified that she felt the Parents

always had an opportunity to ask any questions during the meeting. R.2371, ll.5-9. She said:

“And then in a rejection letter that I received for the IEP we proposed in November, it was

alleged that I hadn’t given them ample opportunity to answer questions, and I was truthfully

very surprised. I do understand that the meetings have to move along at a pace, but we had

usually met for an hour and a half to two hours. So I understand there might have been

things that they thought afterwards But I was surprised that was brought up.” Id.

       Parents’ Reply: Admitted that Ms. McGovern so testified. The Parents add that Ms.

McGovern also provided the following testimony:

       Q. Do you recall whether we ran out of time at the meeting in November
          2014, which was the meeting to review the transition report?

       A. I guess I do remember that.

(A.R. 2406, ll. 7-10).

       198.    The Parents rejected the IEP on December 20, 2014, with a lengthy detailed

attachment outlining their reasons for rejection, which included: the proposed extended

day schedule for C.D. to participate in a “one-to-one” transition program, which has never

before been implemented and which would not provide any peer interaction; the continued

proposed placement in ACCESS Math, which would not prepare C.D. for the Math MCAS

despite her receipt of an almost passing score at Learning Prep, and Natick’s continued

insistence on changing C.D.’s disability category. (A.R.3398).

       Natick’s Response: Natick admits that the Parents rejected the IEP on December

20, 2014. The rejection speaks for itself. R.3398.

       Parents’ Reply: Admitted.

The January 30, 2015 Team Meeting:

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       199.    A team meeting was held on January 30, 2015. (See A.R.3394 -

A.R.3398).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       200.    Natick noted that it had incorrectly indicated that C.D. would be taking the

Math MCAS (with accommodations) on the “State or District-Wide Assessment” page of

the proposed IEP, and that the form should have indicated that Natick had determined

C.D. would participate in the alternative assessment in Math. (See A.R.3394 -A.R.3398).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

       201.    On January 30, 2015, the Parents received notice from Natick indicating its

refusal to make the changes requested by the Parents, except for correcting the error on the

"State or District-Wide Assessment" page. (See A.R.3394 -A.R.3398).

       Natick’s Response: The N1 speaks for itself. R.2295-3397.

       Parents’ Reply: Admitted.

       203.    On January 30, 2015, the Parents received the corrected, “State or District-

Wide Assessment” page, which indicated that C.D. would participate in the alternate

assessment for Math (instead of the Math MCAS). (See A.R.3394 A.R.3398).

       Natick’s Response: Admitted.

       Parents’ Reply: The Parents state that this paragraph was admitted by Natick and

does not require a reply.

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    NATICK’S STATEMENT OF ADDITIONAL UNDISPUTED MATERIAL FACTS

       Natick incorporates herein by reference its denials and the additional information

contained in its responses to Plaintiffs’ facts in paragraphs 6, 17-18, 21, 23, 25-26, 28, 29, 31,

33, 34, 35, 37-38, 45, 52, 53, 63, 65, 66, 71-72, 77-80, 84, 87-89, 94, 95-96, 101, 103-104, 108,

112-122, 124-130, 134-35, 138-40, 143, 145-47, 150, 155-58, 162, 164-65, 167, 168, 172-75,

177-78, 182-83, 185-86, 189, 192-93, 195-97, supra. Natick adds the following undisputed

material facts which are not otherwise contained in its responses above:

Prior Placement

       204.    Student was placed by her parents at the Christa McAuliffe Charter Public

School (“McAuliffe”) for the sixth through eighth grades. R.1612, Tr.V.I, p.38, ll.11-13.

       Parents’ Response: Admitted.

        205. In C.D.’s placement at McAuliffe, she received services in a general

education setting, but with the assistance of a one-to-one aide, who acted as a one-to-one

tutor. R.1696, ll.12-19l; R.1716, ll.14-22.

       Parents’ Response: Denied, except to the extent that Ms. Coellner and Ms. Soden

provided C.D. with supplementary supports and services for C.D. in the general education

setting at McAuliffe.

       206.    She attended classes with approximately 16 students in each class and had the

constant support of either Nan Coellner or Marcia Soden. R.282, l.18; R.1695-1696.

       Parents’ Response: Admitted to the extent that there were approximately 16-20

students in each class. (A.R.282, l.18; A.R.1718, l.20-21). The Parents deny that either Nan

Coellner nor Marcia Soden provided C.D. with constant support. At the meeting on July 27,

2012, Ms. Coellner repeatedly stated,


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               Just to emphasize, again, that C.D. has been in a regular education
               setting for the past few years. You said significant support; I’m sort of
               sensitive to that. Certainly, we have been there; but certainly, when
               your representative came to observe her, we are basically in the back
               of the room, she’s part of the classroom. And in fact, I realized that she
               only could even recognize who Carolyn was except that she was
               pointed out. She had an opportunity -- The representative had an
               opportunity to speak with her special education teacher, to look at her
               work, and in fact observe her in English, Language Arts, and in
               Science. And basically, she has been functioning in a regular
               education classroom with our support; we are there if she needed us.

(A.R.397, l.9-21).

        207.   She also required significant and frequent modifications. R.409, ll.16-22.

        Parents’ Response: Denied. The page cited by Natick does not support Paragraph 207.

 2012-2013

        208.   To provide a comparable IEP to McAuliffe, Natick offered to place C.D. in all

replacement classes. R.2191, ll.2-8; R.2298, ll.20-23; R.2322, ll.5-13; R.2396, ll 3-15; R.2439,

ll.11-21; R.2440, ll.13-23; R.2771.

        Parents’ Response: Denied. The pages cited by Natick do not support Paragraph 208.

The Parents add that Natick did not propose an IEP with placement in any replacement classes

until June 13, 2014, and even then Natick did not offer placement in all replacement classes. The

IEPs speak for themselves. (A.R.3231-3257, A.R.3260-3281, A.R.3282-3305, A.R.3306-3327,

A.R.3328-3349, A.R.3350-3370).

        209.   Natick convened two meetings and reviewed all the information available to it

during the May and July, 2012 meetings, including the results of C.D.’s most recent testing and

verbal reports from C.D.’s service providers. R.2325, ll. 7-9; R.2348-2351.

        Parents’ Response: Admitted that Natick convened two meetings in May and July

2012.


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       210.    It was difficult to hold the July, 2012 meeting because it was during the

summer when staff are not available. R.2389, l.23 – R.2390, l.2; R.2394, ll.13-18.

       Parents’ Response: Admitted that Natick so testified.

       211.    Although it was difficult for Natick to put together a Team in July, 2012

because it was summer and much of its staff was unavailable (R.2389, ll.23-211, ll.2; R.2394,

ll.13-18), all the individuals statutorily-required for the Team meeting were in attendance.

R.478, 2770.

       Parents’ Response: Denied, except to the extent that Ms. McGovern testified, “in the

summer it’s very difficult to find teaching staff to attend IEP team meetings, per contract, and

because they’re away and whatnot,” (A.R.2389, ll.23-A.R.2390, ll.2); and also testified,

“because it was summer, it’s really difficult to find teachers, you know, on fairly short notice

who are in town and able to attend team meetings, because it’s outside of their contractual

work year.” (A.R.2394, ll.13-18).

       212.    The attendance sheet for the July 27, 2012, meeting, shows that both parents,

Natick’s Director of Student Services, two Assistant Directors of Student Services, including

the Team Chair, Lindsey McGovern, who is also a special education teacher, another special

education teacher, a general education teacher, the principal of Natick High School, parents’

independent evaluator and consultant, and Student’s two one-on-one aides (“tutors”) attended

the meeting, along with the parties’ counsel. R.478, 2770.

       Parents’ Response: The attendance sheet speaks for itself.

       213.    No one from the summer program attended because the summer program is

only five weeks long. R.2326, ll.13-18.

       Parents’ Response: Admitted to the extent that Ms. Liptak testified that, “The



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       summer program is only five weeks in duration. I really think the charter school

       personnel would have been probably more important at that time than the summer

       school people. They had a longer relationship with her. We would have had a snapshot

       of information to really contribute. (A.R.2326, ll.13-18).

       214.    The transcript from the July, 2012 meeting shows that Natick relied on various

sources of information in developing the IEP, including C.D.’s progress in the summer

program, informal testing, questions during the Team meeting and a staff member’s visit.

R.385, ll.14-20; R.387, ll.3-13; R.397, ll.22-24; R.399, ll.2-4; R.403-12-25.

       Parents’ Response: Denied that the transcript from the July, 2012 meeting shows that

Natick relied on various sources of information in developing the IEP. The pages cited by

Natick do not support this assertion. The Parents add that the pages cited by Natick only

indicate that Natick acknowledged that they have unspecified information from the summer

program (A.R.385., ll.14-20); that Natick stated C.D.’s work during the summer program

matched the current performance levels described by McAuliffe in her last IEP (A.R.387, ll.3-

13); that Ms. Coellner informed Natick that C.D. performed well and made progress at

McAuliffe (A.R. 397, ll.22-24); that Ms. Coellner informed Natick that C.D. was performing

close to grade level (A.R.399, ll.2-4); and that while Ms. Dalan did not write a report after her

observation of C.D. at McAuliffe, she informed Natick that she believed the ACCESS program

was appropriate. (A.R.403-12-25).

       215.    Lindsey McGovern, the Team Chair who attended the meeting, is also a

special education teacher. R.2347, ll.19-23; R.2344, ll.6-10; R.2345, ll.2-3.

       Parents’ Response: Admitted.

       216.    In the July, 2014, IEP, the Team adopted the goals, objectives,


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accommodations and modifications from the IEP developed by McAuliffe dated April 4,

2013, to April 4, 2013. R.2600-2622.

        Parents’ Response: Denied. The pages cited by Natick do not support Paragraph 216.

The Parents add that the last IEP developed by McAuliffe was dated 4/24/2012-4/24/2013.

(A.R.3375-A.R.3393).

        217.   The Team discussed the option of replacement classes, but believed that the

Access program was the most appropriate for C.D.’s needs. R.403, l.21 - 404, l.2; R.2600-

2622.

        Parents’ Response: Denied to the extent that Natick is implying that the Replacement

classes were a “choice” for the Parents. R.403, l.21 - 404, l.2 does not support Paragraph 217.

The Parents add that in the Narrative Description of the IEP cited by Natick (R.2600-2622),

Natick wrote, “The option to provide [C.D.’s] special education services through replacement

services was discussed by the Team and rejected by the district.” (A.R.2601).

        218.   The Access program was for students like C.D. with cognitive,

communication and social pragmatic deficits. R.406.

        Parents’ Response: Denied to the extent that this depicts an incomplete description of

the information provided by Ms. McGovern at the meeting on July 27, 2012. Ms. McGovern,

said, “The Access program serves kids that do have cognitive, communication,

social/pragmatic deficits or disabilities in those areas [C.D.] would, on paper, fit into that

category; she has an intellectual disability and also issues with communication and

social/pragmatic. (A.R.406, l. 16-20.)

        219.   The Access program would have enabled C.D. to have appropriate supports

in place. R.413, ll.14-20.


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        Parents’ Response: Denied. The Parents add that the page cited by Natick does not

address the supports that C.D. would have in the ACCESS program. (A.R.413, ll.14-20).

        230.     The Access program would have provided C.D. with direct special

education services in small group English, history, science, math and vocational classes. It

would have provided direct special education services in electives in the general education

setting and indirect consultation services. R.2600-2622.

        Parents’ Response:3 Denied. The ACCESS program would not have provided services in

small groups. The Service Delivery Grid in the IEP speaks for itself. (A.R.2617).

        231.     The block scheduling allowed reading and writing to be integrated across the

curriculum. R.409, ll.4-13. Block scheduling would have prevented discrete, isolated instruction

in reading and writing and allow information to be presented in a variety of ways. Id.; R.2212,

l.20; R.2213, l.22 – R.2214, l.12.

        Parents’ Response: Denied, except to the extent that Natick testified that, with respect

to the Replacement and general education classes, the longer blocks allows information in each

specific course subject to be presented in a variety of ways. (A.R.2212, ll.20-24). There is no

evidence on the page cited by Natick or anywhere else in the record supporting Natick’s

assertion that the block scheduling allowed reading and writing to be integrated across the

curriculum. The Parents add that Natick stated that the ACCESS program allows reading and

writing to be infused throughout because it is a self-contained program. (A.R.409, ll.4-13).

        232.     Students in the Access program were routinely placed in replacement classes

when their abilities and classroom performance indicated that it was appropriate and the

replacement classes allowed students to access the general curriculum. R.2191, ll.2-8; R.2298,

3
  The Parents have omitted numbers 220-229 in the numerical sequence to maintain consistency with the sequence
in Natick’s Response.

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ll.20-23; R.2322, ll.5-13; R.2396, ll. 3-15; R.2439, ll.11-21; R.2440, ll.13-23.

       Parents’ Response: Denied. The pages cited do not support Paragraph 232. (See

Paragraph 161).

       233.    Given that C.D. was transitioning from one school to another, Natick held the

meeting, but recommended that teachers and staff work with C.D. and then reconvene in

October after they had more first-had information about her. R.2352, ll.5-24.

       Parents’ Response: Denied. Natick held the meeting in response to the letter from

the Parents’ attorney requesting a meeting to develop a new IEP. The purpose of the meeting

was to develop a new IEP, as explained by Ms. McGovern:

               So the purpose for today’s meeting is twofold. We want to discuss
               Carolyn’s transition to the high school, and also we’d like to develop
               an IEP that we feel will meet her needs at the high school. I know
               that, when the team convened in May, there was discussion around
               what that kind of program might look like. There was discussion,
               also, around proposing a comparable IEP and reconvening early in the
               fall. However, since then, I know there’s been some communication
               between attorneys regarding the parents’ desire to have an IEP
               developed for Carolyn as she starts at the high school, to facilitate her
               transition. We’ve also had the pleasure of having Carolyn in summer
               school with us in an extended school year program, so we have some
               additional information that we can bring to the table as well. So the
               outcome of today’s meeting, ideally, will be for us as a team to
               develop an IEP that we feel will meet Carolyn’s needs at Natick High
               School so she can transition in with that IEP in place at the end of
               August.

(A.R. 385, ll. 3-20).

2013-2014

        234.    A Team meeting was held on May 22, 2013. R.2674-2597.

       Parents’ Response: Admitted.

        235.    The Access teacher was at the meeting, but C.D.’s father did not have

 any questions for the teacher. R.2575.

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       Parents’ Response: Admitted.

       236.    The Team Chair had solicited feedback from Learning Prep, but Learning

Prep did not provide meaningful information.

       Parents’ Response: Denied. The Parents add that Natick does not cite any evidence to

support Paragraph 236.

       237.     Learning Prep failed to provide sufficient data to update the goals for the

2013-2014 IEP. R.2584-90; R.2360, l.12 – R.2361, l.2.

       Parents’ Response: Admitted to the extent that the goals for the 2013-2014 IEP were

not updated. The Parents add that Natick indicated, “The Team considered [C.D.’s] current

performance as reported by LPS. This IEP dated May 22, 2013-May 22, 2014, was very

similar to the IEP that had been previously proposed because the Team felt that [C.D.]

continued to present with the same areas of need.” (A.R. 3096).

       238.     The Team reviewed C.D.’s current performance as reported by Learning

Prep teachers in the areas of history, biology and language arts/literature.

       Parents’ Response: Denied. The Parents add that Natick does not cite any evidence to

support Paragraph 238.

       239.     The Team continued to believe that Access was appropriate. R.2674-2597.

       Parents’ Response: Admitted that Natick continued to propose the ACCESS program

for all of C.D.’s core academic classes. (A.R. 2574-2597).

       240.     The IEP contained a transition action plan which provided for C.D. to meet

with her guidance counselor to explore post-secondary learning opportunities and with the

career specialist to explore employment and internship possibilities. R.2595.

       Parents’ Response: Admitted that the IEP contained a transition action plan. The


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document speaks for itself.

       241.     The transition action plan provided that C.D. should explore non-degree

post- secondary programs and stated that she would benefit from exploring vocational

opportunities and receiving vocational training. It also provided that C.D. would learn to

access community services and transportation in the community, managing money and

increasing social thinking strategies. R.2595.

       Parents’ Response: The transition action plan speaks for itself.

2014-2015 IEPs

       242.     Natick sent Parents an evaluation consent form to perform C.D.’s three-

year evaluation on March 12, 2014. R.2754-57.

        Parents’ Response: Admitted.

       243.     C.D.’s father rejected the proposed evaluation in full, indicating that before he

consented he wanted a description of the tests to be conducted and the location where they

would be given. R.2756.

       Parents’ Response: Admitted that C.D.’s father rejected the proposed evaluation

because he had questions about the tests to be conducted, and the location and dates where

testing would take place. (A.R. 2756).

       244.     C.D.’s father did not consent until April 15, 2014. R.2757.

       Parents’ Response: Admitted that C.D.’s father provided consent on April 15, 2014. The

Parents add that Natick did not answer the father’s questions until April 15, 2014 (A.R. 3409).

       245.     The Team met on April 15, 2014, and proposed an IEP. The IEP contained

a Transition Planning Action form. R.2551-2581.

       Parents’ Response: Admitted.


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       246.       The Team reconvened on June 13, 2014 to review the results of C.D.’s three-

year reevaluation. R.2529-2550.

       Parents’ Response: Admitted.

       247.       The Team proposed a number of changes from the prior IEPs, including a

proposal that C.D. participate in a general education class and some replacement classes.

R.2309, ll. 22-24; R.2362, ll.14-16; R.2364, ll.13-19; R.2529-2550.

       Parents’ Response: Admitted.

       248.       The 2014 changes were made based on review of C.D.’s evaluations and

information from Learning Prep. R.2412, ll.22-24; R.2413, l.1; R.2414, ll.17-24

       Parents’ Response: Admitted.

       249.       The speech and language pathologist attended both the June, 2014 and

January, 2015 meetings, and discussed the findings from her evaluations and what services

would be like. Parents had an opportunity to ask questions. R.2194, ll.21 – R.2195, l.24;

R.2193, ll.1-9.

       Parents’ Response: Admitted that Ms. Karian attended both the June 2014 and

January 2015 meetings, and discussed the findings from her evaluations and what services

would be like. Admitted that Ms. Karian testified that the Parents had an opportunity to ask

questions. (A.R.2194, ll.21 – A.R.2195, l.24; A.R.2193, ll.1-9).

       250.       The IEP kept C.D. in the Access class for mathematics because that was a

significant area of need for her. R.244, ll.14-22.

       Parents’ Response: Admitted that Natick proposed keeping C.D. in the ACCESS

class for mathematics. The Parents add that the page cited does not address the IEP or the

reason Natick proposed the ACCESS class for mathematics.


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       251.     The IEP proposed placing C.D. in two different English classes to address her

significant need in the area of reading comprehension in the Access setting, while permitting

her to participate in a replacement English class to accommodate her relative strength in writing

and interest in writing. R.2373, l.15 - R.2374, l.12. The dual English classes ensured C.D. some

instruction in English Language Arts for eighty minutes every cycle. Id.

       Parents’ Response: Admitted that the IEP proposed placing C.D. in a double English

class – one in ACCESS and the other in Replacement and that Ms. McGovern testified as to

Natick’s reasoning for making this proposal. (A.R.2373, l.15 - R.2374, l.12.)

       252.     The IEP would have permitted Natick to address C.D. area of weakness

intensely, while allowing her to receive content instruction in the less restrictive replacement

classes. R.2373, l.20 - R.2374, l.12.

       Parents’ Response: Denied. The IEP speaks for itself.

       253.     The IEP would have allowed her to interact with peers in different classes and

work in different settings with peers who have reading, writing, and social strengths. R.2333, l.

19 - R.2334, l.9.

       Parents’ Response: Denied. The IEP speaks for itself.

Transition Services

       254.     The 2012-2013 IEP proposed vocational services from the Learning

Center Teacher/Student Support Facilitator. R.2628-2645.

       Parents’ Response: Admitted that vocational services from the Learning Center

Teacher/Student Support Facilitator was indicated on the Service Delivery Grid in the proposed

IEP. The IEP speaks for itself.

       255.     There was a Transition Plan for the 2013-2014 and 2014-2015 IEPs


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with vocational services. R.2503-2645.

           Parents’ Response: The IEPs speak for themselves.

           256.    Ms. Brown conducted a transition assessment of C.D. on October 22, 2014.

R.2646-2660.

           Parents’ Response: Admitted.

           257.    She explained that C.D. had an interest in fashion, cooking, baking, and most

of all hairstyling and make-up. R.2646-2660.

           Parents’ Response: The Transition Evaluation speaks for itself.

           258.    She noted that C.D. required further development to build her knowledge of

the requirements and skills for specific jobs and recommended job shadowing and internships.

She made a number of other recommendations as well. R.2646-2660.

           Parents’ Response: The Transition Evaluation speaks for itself.

           259.    The Team convened on November 14, 2014 to review the transition

assessment and revise the Transition Planning Form. R.2503-2528.

           Parents’ Response: Admitted that a meeting was held on November 14, 2014.

           260.    Dr. Roffman testified that Natick’s transition assessment was adequate. R.1775,

ll. 4-8.

           Parents’ Response: Admitted that Dr. Roffman testified that the transition assessment

conducted by Natick in October 2014 was adequate. (A.R.1775, ll. 4-8).

           261.    There were numerous schedules offered for the transition services, one of

which was a one-to-one setting after school. R.1677, l.7 – R.1678, l.1.

           Parents’ Response: Admitted that Natick offered a one-to-one transition class after

school. The Parents add that there would not be an opportunity for electives if C.D. had chosen



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to take the transition class during the school day. [A.R.1677, ll.7-11]. Ms. McGovern testified

that:

        So, when we met -- when we convened to review the transition assessment,
        we found a need for additional services. And we do not want – when I run a
        meeting, I never want scheduling to dictate a service delivery grid. It's not
        good practice, it's not legal, it's not how I practice. So we felt that rather than
        falsely reduce or alter any service delivery we had proposed in the June
        meeting, we would also propose extended school day, because a huge concern
        that the Parents had that had been voiced was her opportunity to participate in
        electives, and a fear that her special education services would interfere with
        that, which now I feel is a little ironic, because there is a desire to have less
        inclusion. But at the time a concern that was expressed was, “We don't want
        special education services eliminating her ability to participate meaningfully
        in electives.”

(A.R.2372, l.15 – A.R.2373, l.9)

        262.    The IEP proposed an extended day for C.D. R.2503-2528.

        Parents’ Response: Admitted.

        263.    An extended school day would have allowed C.D. to continue to receive

non-academic general education electives during the day as well as all her services on the

service delivery grid. R.1677, l.7 – R.1678, l.1.

        Parents’ Response: Admitted.

        Disability Category

        264.    The change in the disability category was based upon an evaluation by

Natick’s school psychologist, Ms. Cymrot, in May of 2014. R.2132, l.12.

        Parents’ Response: Admitted.

        265.    Ms. Cymrot is a licensed school psychologist who had worked in Natick for

over twenty years. R.2132, l.10 – R.2133, l.2.

        Parents’ Response: Admitted.

        266.    Ms. Cymrot noted that C.D. had longstanding deficits in language,

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language understanding, reading comprehension, and written language, and that the

deficits affected cognitive growth and development. R.2134, ll.14-22.

       Parents’ Response: Denied. There is no evidence on the page in the record Natick

cites supporting Paragraph 266.

       267.     Ms. Cymrot discussed her opinion that C.D.’s disability should be

communication as opposed to intellectual at both the June, 2014 and November, 2014 meetings.

R.2143, l.22 – R.2145, l.4.

       Parents’ Response: Admitted.

       268.     Natick provided Parents with notice of the change in disability category

through the N1s and proposed IEPs developed at the June and November, 2014 meetings.

R.2527-2548; 2499-2526.

       Parents’ Response: Denied. The Parents received notice of the change in disability

category at the meeting in June. (A.R. 1007, l.8-A.R. 1009, l.13). The N1s and IEPs cited were

issued after the date of the June meeting.

       269.     Service providers testified that a communication disability describes C.D.

well and that she needs significant support around language and requires pairing instruction

with visuals, repetition, and previewing and reviewing of material. R.2194, ll.13-20.

       Parents’ Response: Admitted that Ms. Karian testified:

               Her communication disability really describes her well, and it helps us
               as educators to provide services that will support her in the best way.
               We know that she needs a lot of support around language and pairing
               things with visuals and providing repetitions and really previewing
               and reviewing material on a consistent basis.

       (A.R. 2194, ll.13-20).

       270.     The service providers further testified that regardless of the disability category,


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the services for C.D. would not have changed because the recommended services are based

upon all areas of deficit and day-to-day functioning, and not upon the named disability

category. R.2143, ll.10-21; R.2199, ll.3-17.

       Parents’ Response: Admitted that Ms. Cymrot testified:

               So that's why I feel that a language disability or communication disability
               more aptly describes Carolyn. But I want to also say that I think that the
               specific disability category is not the key component for somebody.

               Everybody -- for anybody you need to look at how their actual functioning in
               day-to-day life is. This is just -- testing is just a brief picture of them on a
               particular day, and it tells really very little about how a person with their
               personality strengths is able to utilize the abilities and the strengths that they
               have.

               So the specific disability category may be important for the IEP
               development in terms of having to state the disability category, but I
               think that their day-to-day functioning is what's important in terms of
               developing a service plan.

(A.R.2143, ll.10-21).

       The Parents also admit that in response to the Hearing Officer’s question: “Does the

disability category impact the way you provide your services? Ms. Karian stated, “No”

(A.R.2199, ll.1-160).

       Learning Prep

       271.     At Learning Prep, C.D. has/had no access to any typical peers because Learning

Prep is a special education school for students with disabilities. R.2353, ll.13-17.

       Parents’ Response: Admitted that Learning Prep is a special education school for

students with disabilities.

       272.     Learning Prep does not start transition services until the student is in the

eleventh grade. R.2235, ll.21-24.

       Parents’ Response: Denied. The Parents add that Ms. Tsang, Transition Coordinator

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at Learning Prep testified as follows:

               Q: Do transitional services at LPS generally begin in the 11th grade?

               A: That is when they are actually called transitional resources, but their
               transition starts as early as second grade.

(A.R. 2005, ll. 12-16).

The father also testified with regard to the transition program at Learning Prep:

               I think the transition program is good. This summer one of the things
               she'll be doing is working two days a week at a place like Boston
               College or Newton-Wellesley Hospital. So I think she's making gains
               in transition. In fact, the way the Learning Prep -- call them
               electives, like culinary, horticulture and childcare – is structured is
               that they follow the Mass. Curriculum transitional assessments,
               which is something that the state implements for not just kids with
               learning disabilities, but it's for like people that are returning to
               society from prison to get them up to speed and to hold a job.

(A.R. 1669, ll. 1-13, See also A.R. 508-5011).

Parents’ Participation

       273.     The Parents were able to ask whatever questions they had about the

program(s) proposed during Team meetings and after Team meetings, they could ask

whatever questions they had of the special education teacher, the Director of Special

Education, and other staff. R.2195, ll.20-24; R.2264, ll.5-11; R.2279, ll.10-18; R.2280, ll.2-6;

R.2292, ll.11-14; R.2371, ll.1-19; R.2394, l.23 – R.2395, l.8.

       Parents’ Response: Admitted to the extent that Ms. Karian testified that the Parents

asked her a few questions at the IEP meeting in January 2014 (A.R.2195, ll.20-24); admitted

to the extent that Ms. Brown testified that she did not recall whether the Parents asked

questions about the ACHIEVE program at the meeting in January 2014, that the Parents had

the ability to ask questions at IEP meetings in November and January 2014 and that they

asked questions about the schedule at the meeting (A.R.2264, ll.5-11, A.R.2279, ll.10-18,


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A.R.2280, ll.2-6); admitted to the extent that Ms. McGovern testified that she believed the

Parents had the opportunity to ask questions, (A.R.2371, ll.1-19, A.R.2394, l.23 – A.R.2395,

l.8.). The Parents add that Ms. McGovern also testified that she remembered that the Team

ran out of time at the meeting in November 2014. (A.R. 2406, ll. 7-10).

       The Parents also add that the testimony referenced by Natick at A.R.2292, ll.11-14 does

not support Paragraph 273.

       274.     The Parents and their experts had multiple opportunities to observe Natick’s

proposed programs. R.2246, ll.3-7; R.2256, ll.12-17; R.2295, l.9; R.2304, ll.22-24; R.2368,

p.189, ll.11-13; R.2369, ll.18-21.

          Parents’ Response: Denied, except to the extent that the Parents and their experts

were permitted to observe Natick’s proposed program in 2014, subject to the conditions and

limitations placed upon their observations by Natick. (A.R.3112-3162). The pages cited by

Natick simply reference the limited observations that occurred and do not support Paragraph

274.

Testimony/Hearing

       275.     Dr. Imber changed his opinion of what C.D. required over time. R.1676, ll.2-

6; R.2086, l.8 – R.2091, l.4.

       Parents’ Response: Denied, except that Dr. Imber’s opinion of C.D.’s needs changed to

the extent that C.D. changed during the six-year timeframe that he served as her educational

consultant and independent evaluator. The pages cited by Natick do not support Paragraph 275.

       276.    In 2011, Dr. Imber advocated for inclusion at the BSEA hearing. R.2082, ll.8–11.

       Parents’ Response: Admitted.

       277.    In his 2012 report, Dr. Imber recommended that C.D. “continue to attend

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high school in an inclusive environment.” He said that “[t]he recommendation is consistent

with current best practice in education, consistent with the IDEA’s emphasis on least

restrictive environment.” R.2077, l.8 – R.2078, l.4.

       Parents’ Response: Dr. Imber’s report speaks for itself.

       278.     At the May and July, 2012 meetings, Dr. Imber stated that inclusion

opportunities were important for C.D. R.2082, ll. 12-24.

       Parents’ Response: Admitted that Dr. Imber so testified.

       279.     At the BSEA hearing, Dr. Imber advocated for C.D.’s attending Learning

Prep where she had no opportunity to be with general education students. R.2071, l.4 –

R.2072, l.8; R.2086, l. 8 – R.2091, l. 4.

       Parents’ Response: Denied. Natick’s representation of Dr. Imber’s testimony is out

of context and misleading. The Parents add that Dr. Imber supported C.D.’s continued

placement at Learning Prep at the time of the hearing based upon the benefits she experienced

between 2012 and 2014, and he initially supported the Parents’ placement at Learning Prep

only because Natick offered no other options than the self-contained ACCESS program for all

of C.D.’s core academic classes in 2012, despite her success for the past three years in the

general education classroom at McAuliffe. Dr. Imber testified with regard to C.D.’s continued

placement at Learning Prep:

               “There is no question in my mind that she is benefitting now and I base
               that on a lot of observations.”

(A.R.2071, ll.7-9).

               I think she is making meaningful progress there, and I have every reason
               to believe she's going to have another successful year, and she will now
               complete the junior year of high school there.

(A.R.2072, l.4 – R.2072, l.8).


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Dr. Imber testified with regard to C.D.’s initial placement at Learning Prep:

               The Natick folks, who did not really truly know [C.D.], talked
               about the ACCESS program as the only place she was going to be
               successful, which I don't think any of the people that worked with
               [C.D.] or the [Parents] thought was appropriate at all. Once that
               decision was made by the Parents that, "Look, we don't want her to
               go back to a highly -- the most restrictive program after her success
               at McAuliffe," well, now the question is, the Parents had asked
               about other options, and none of the other options they mentioned
               during the meeting were considered.

(A.R.2087, l.7-A.R.2088, l.5).

               Once it was determined by the Parents that ACCESS was in effect
               going backwards for Carolyn and was not going to be an
               appropriate program, then they began to consider other options. So
               at that point, even though it may seem inconsistent to you that I
               wouldn't say, "Well, have her go to another public school" -- I
               mean, I don't know if they would have had to have moved or
               whatever –

(A.R.2089, 1l.3-11).

               My initial support would have been for an inclusive environment,
               and had it been discussed, had there been discussion about some
               other programs on the continuum, like, say, what we talk about the
               replacement program now, and we had been able to observe it, I
               think it would have been given due consideration. I think it would
               have at least been considered as an option.

(A.R.2090, l.21-A.R.2091, l.4).

       280.    C.D.’s father does not have any degrees or licenses in either general or special

education, never taught in a public school or private school setting, and did not have any

degrees in speech and language pathology. R.1659, l.17 – R.1660, l.6.

       Parents’ Response: Admitted.

       281.    Ms. Flax testified that C.D. would have absolutely no friends in the

Access program. R.1913, ll.1-16.



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       Parents’ Response: Denied. Natick’s representation of Ms. Flax’s testimony is out of

context and misleading. The Parents add that Ms. Flax testified that based on her observation

of the ACCESS program and her personal knowledge of C.D., after having worked with her on

a weekly basis for over five years prior to the hearing, she did not believe the students in the

ACCESS program would be appropriate peers for C.D. with whom she would develop

friendships. Ms. Flax testified:

       Given the level of disability that I observed in the class and the lack of
       interaction -- that's the big one. None of these kids were interacting with one
       another. And given [C.D], I know that she would not have friends in that
       class.

       She would probably have no friends, and she would have probably a lot less
       verbal language.

(A.R.1913, ll.15-16; A.R.1913, ll. 6-11).

       282.     Ms. Flax testified that C.D. would not benefit from inclusion. R.1882, ll.6-10.

       Parents’ Response: Denied. Natick’s representation of Ms. Flax’s testimony is out of

context and misleading. The Parents add that Ms. Flax’s testimony was that C.D. would not

benefit from inclusion to the extent that it required her to leave Learning Prep and return to

Natick for the following school year, given the benefits she experienced at Learning Prep

between 2012 and 2014. Specifically, Ms. Flax testified, “I feel, during the school day, given

the type of environment she is in, she should not be integrated with typically developing peers

at this time.” (A.R.1882, ll.14-17). Ms. Flax further testified,

       Because she is in an environment where she is developing and growing and
       flourishing. And one of the reasons the Parents wanted her in a more inclusive
       environment with typically developing peers was because of her strength in
       social skills.

(A.R.1883, ll.1-12).

        283.   Ms. Coellner admitted that she did not conduct any formal evaluations of C.D.,


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had not worked with C.D. for over three years, and was a paraprofessional, not C.D.’s special

education teacher. R.1715, l.19 – R.1717, l.2.

       Parents’ Response: Admitted to the extent that Ms. Coellner did not conduct formal

evaluations of C.D. and, at the time of the hearing, she had not worked with C.D. for

approximately three years. (A.R.1715, l.19 –A.R.1716, l.1). The Parents add that Ms. Coellner

conducted informal curriculum based assessments for 2-3 days per week on a weekly basis for

three years at McAuliffe, providing C.D. with both direct and indirect services. (A.R.1716,

ll.19-A.R.1717, l.2). With regard to how she measured C.D.’s progress, Ms. Coellner testified:

       I measured it through my experience and my eye and my expertise, that
       somebody who came in in sixth grade and could barely write a sentence and
       in eighth grade could write a composition. That's how I measured it… By
       looking at her work and looking at her self-confidence and her willingness to
       try things that she wouldn't try. The fact that in the beginning if the teacher is
       going to ask her a question, they'd have to cue her first so she wouldn't panic.
       By the end, she was raising her hand volunteering. So those narrative,
       observational methods, you know.

(A.R.1717, ll.15-A.R.1718, l.4).

       With regard to how she measured whether C.D. was actually understanding
       and retaining the material, Ms. Coellner testified:

       By the feedback that she would give. They would ask a question and she
       would answer it correctly. I would look at -- often they would give -- a "do
       now," for example, when they walked in would be to write about what we
       read yesterday, and the fact she would sit down, start it and do it and it would
       be correct. By her work products, by her answers.

(A.R.1718, ll.10-17).

       284.    Ms. McGovern testified that she was surprised that Parents and their experts

found Natick’s proposed Access program too restrictive for C.D., but then placed her at

Learning Prep, a private special education, out-of-district placement. R.2353, ll.1-17.

       Parents’ Response: Admitted that Ms. McGovern so testified.



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       285.    She noted that the recommendations of Ms. Flax and Dr. Imber had

“really” changed over time. R.2353, ll.13-17.

       Parents’ Response: Admitted that Ms. McGovern testified this was her opinion.

       286.    Ms. McGovern testified that C.D.’s profile had not changed significantly and, in

fact, C.D. had made gains in expressive language, warranting a less restrictive setting rather

than a more restrictive one. R.2353, l.22 – R.2354, l.1.

       Parents’ Response: Admitted that Ms. McGovern so testified.

       287.    Approximately two weeks before the hearing, on or about May 4, 2015,

Parents attempted to submit a transition report, a psychoeducational evaluation, and a speech

and language evaluation. R.1584, l.23 – R.1585, l.6.

       Parents’ Response: Admitted that the Parents submitted a transition report, a

psychoeducational evaluation, and a speech and language evaluation on or about May 4, 2015.

(A.R.1584, l.23 – A.R.1585, l.6.). The Parents add that they submitted these reports as

evidence in accordance with Rule IX of the BSEA rules.

DATED this 26th day of September 2016.


                                  Respectfully submitted,

                                  C.D., by and through her PARENTS AND
                                  NEXT FRIENDS, M.D. and P.D.

                                  By their attorney,

                                  /s/ Laurie R. Martucci
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                                  CERTIFICATE OF SERVICE

I hereby certify that the above document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (“NEF”), and paper copies
will be sent to those indicated as non-registered participants on September 26, 2016.



                                                                 /s/ Laurie R. Martucci
                                                                 Laurie R. Martucci




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